Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 1 of 66


                                                           EXHIBIT 2
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 2 of 66
   Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 3 of 66
                                         Financial Crimes Enforcement Network




The
SAR
Activity
Review
Trends
Tips &
Issues
Issue 22
Published under the auspices of the BSA Advisory Group.
October 2012
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 4 of 66
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 5 of 66
                                                  Financial Crimes Enforcement Network




Table of Contents

  Introduction                                                                         1
  Trends & Analysis                                                                    3
     SAR Activity Review Customer Satisfaction Survey Results                          3
     Foreign-Located Money Services Businesses: An Insight into
     the foreign-located MSB Population                                                7
  Law Enforcement Cases                                                               11
  Issues & Guidance                                                                   21
     Project STAMP (Smugglers’ and Traffickers’ Assets,
     Monies and Proceeds)                                                             21
     Analysis of Suspicious Activity Report (SAR) Inquiries Received by
     FinCEN’s Regulatory Helpline                                                     24
     Suspicious Activity Reports: Back to the Basics                                  35
     Writing Effective SAR Narratives                                                 38
  Industry Forum                                                                      47
     Taking a Second Look at AML Risks from Business Funded
     Prepaid Cards: It’s a Whole New Ball Game                                        47
  Feedback Form                                                                       57




  The SAR Activity Review Index is available on the FinCEN website at:
  http://www.fincen.gov/news_room/rp/files/reg_sar_index.html
  For your convenience, topics are indexed alphabetically by subject matter.




 SAR Activity Review — Trends, Tips & Issues (Issue 22)                           i
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 6 of 66
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 7 of 66
                                                    Financial Crimes Enforcement Network




Introduction

  T    he SAR Activity Review – Trends, Tips & Issues is a product of continual dialogue
       and collaboration among the nation’s financial institutions, law enforcement
  officials and regulatory agencies to provide meaningful information about the
  preparation, use and value of Suspicious Activity Reports (SARs) and other FinCEN
  reports filed by financial institutions.

  Each year, FinCEN conducts a survey of readers of the Trends, Tips & Issues and its
  companion publication, By the Numbers. In the Trends & Analysis section of this
  issue, we summarize the 2009-2011 ratings and feedback received for the Trends, Tips
  & Issues publication. In this section, we also include an article on foreign-located
  money services businesses (MSBs) who have registered with FinCEN through
  August 2012 based on new registration requirements.

  In early 2012, FinCEN conducted outreach to all of our state and local law
  enforcement partners and asked those entities to provide feedback on their use of
  FinCEN data. The Law Enforcement Cases section highlights how access to FinCEN’s
  Gateway system has assisted these agencies in their investigations.

  In Issues & Guidance, we include an article from U.S. Immigration and Customs
  Enforcement Homeland Security Investigations’ Project Smugglers’ and Traffickers’
  Assets, Monies and Proceeds (Project STAMP). Two articles from FinCEN staff
  included in this section focus on changes to the new FinCEN SAR and some of its
  new fields and features. In this section, we also include help for filers in writing
  more effective SAR narratives, in particular examining SARs involving potentially
  unregistered MSBs and counterfeit checks.

  Finally, in the Industry Forum, we get an industry perspective on the AML risks
  presented by business funded prepaid cards.

  As always, we very much appreciate your feedback. Please take a moment to fill
  in the form at the end of this issue to let us know if the topics we have covered are
  helpful to you, as well as what you would like to see covered in future editions.




 SAR Activity Review — Trends, Tips & Issues (Issue 22)                              1
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 8 of 66
Financial Crimes Enforcement Network


Barbara Bishop
Regulatory Outreach Project Officer
Financial Crimes Enforcement Network


 The SAR Activity Review – Trends, Tips & Issues is possible only as a result of the
 extraordinary work of many FinCEN employees and FinCEN’s regulatory, law
 enforcement and industry partners. FinCEN would also like to acknowledge
 the members of the Bank Secrecy Act Advisory Group (BSAAG) SAR Activity
 Review Subcommittee for their contributions to the development of this
 publication, particularly the Co-chairs noted below.

 Helene Schroeder
 Special Counsel
 Commodity Futures Trading Commission

 Michael Cho
 Global Head, Anti-Money Laundering Compliance
 Northern Trust




  2                           SAR Activity Review — Trends, Tips & Issues (Issue 22)
          Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 9 of 66
                                                               Financial Crimes Enforcement Network




Trends & Analysis

  T    his section of The SAR Activity Review – Trends, Tips & Issues contains
       information, such as those identified through analysis of FinCEN reports and
  calls to FinCEN’s Regulatory Helpline.


       SAR Activity Review Customer Satisfaction
       Survey Results
       By FinCEN’s Office of Outreach Resources

  Each year FinCEN conducts a survey of readers of Trends, Tips & Issues, along with
  its companion publication By the Numbers. Respondents are asked to answer certain
  benchmarking questions about the publications and to rate the publications. In
  rating Trends, Tips & Issues, respondents are asked questions about the usefulness of
  the main sections of the publication, as well as the value of the information in each
  section based on four criteria: providing guidance on filing requirements; helping
  improve Bank Secrecy Act (BSA) or anti-money laundering (AML) programs;
  providing feedback on the use of Suspicious Activity Reports (SARs); and, the
  opportunity for readers to suggest future topics for the publication.




  1.    FinCEN uses the services of a federal contractor to conduct the survey and to provide FinCEN a
        report of the survey findings.
  2.    Prior to the 2010 survey, FinCEN used contact information provided through regulatory reporting
        to identify the survey audience. Beginning in 2010, FinCEN developed its list of survey recipients
        from persons who signed up to receive information on FinCEN publications via FinCEN Updates
        (available through FinCEN’s website), allowing FinCEN to better target readers of the publication
        for their feedback. This survey covers only the most recent three-year period of surveys.




 SAR Activity Review — Trends, Tips & Issues (Issue 22)                                                3
         Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 10 of 66
Financial Crimes Enforcement Network


This article summarizes the ratings received for the Trends, Tips & Issues publication
for the 2009 through 2011 surveys,3 and responses to the question: “What would you
change to improve Trends, Tips & Issues?”

                     Percentages of respondents who found
                         Trends, Tips & Issues useful:
                                                              2009           2010           2011
 Overall satisfaction                                         73%            80%            80%
 Issues & Guidance                                            80%            86%            86%
 Law Enforcement Cases                                        74%            83%            82%
 Trends & Analysis                                            70%            78%            78%
 Industry Forum                                               67%            72%            73%


                Value of information in Trends, Tips & Issues:
                                                              2009           2010           2011
 Providing guidance on filing requirements                    76%            81%            80%
 Helping improve BSA or AML program                           75%            79%            78%
 Providing feedback on the use of SARs                        72%            79%            79%
 Opportunity to suggest future topics                         68%            71%            72%


Key themes from survey responses
In characterizing the written responses to the question of what readers would
change to improve Trends, Tips & Issues, there were several key themes. Responses
were categorized as based either on feedback on each section in the publication
or leading trends in the responses, such as length and frequency of each issue, the
general style and content of the publication, access to the publication and the focus
on a theme for May issues of the publication.

Issues & Guidance
Overall, survey respondents most frequently asked for more tips and guidance, such
as how to complete forms, as well as how to avoid common errors and how to write
more effective SAR narratives (i.e., narrative examples; key words to use in writing




3.   The 2012 customer satisfaction survey was conducted in June, 2012. Results from the 2012 survey
     are not yet available.




     4                              SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 11 of 66
                                                   Financial Crimes Enforcement Network


 narratives; and, what is beneficial to law enforcement). While some respondents
 asked for more feedback from regulators as to issues they identify in the field, most
 wanted to hear from FinCEN in the form of increased regulatory interpretation;
 information on the status of pending regulations; guidance on strengthening
 compliance programs (best practices, developing risk assessments); how to apply
 regulations and guidance; and, clarification of what has changed and what those
 changes mean for financial institutions.

 This issue of Trends, Tips & Issues includes an article comparing more effective and
 less effective SAR narratives reporting potentially unregistered MSBs or the passing
 of counterfeit checks. In the Issues & Guidance section of this issue, we also include
 information and tips for filers on some of the changes in the new FinCEN SAR form,
 the use of which will be required early in 2013.

 Law Enforcement Cases
 The single largest category of responses each year was a request for more (and
 more detailed) law enforcement cases. Respondents frequently commented on the
 value of the cases in training employees, and indicated that more detail (i.e., red
 flags; what led to the institution’s identification of the activity and the subsequent
 SAR filing) would benefit them in identifying suspicious activity being conducted
 at their institutions. They also indicated they would like to see more variety in the
 types of institutions and products profiled in the cases. Respondents also frequently
 requested more feedback on the usefulness of SARs to law enforcement, specifically
 how they use the reports and statistics on the use of BSA reports in cases.

 Unrelated to the survey, in early 2012, FinCEN conducted outreach to all our state
 and local law enforcement partners and asked those entities to provide feedback on
 their use of FinCEN data. The Law Enforcement Cases section highlights how access
 to FinCEN’s Gateway system has assisted these agencies in their investigations.

 Trends & Analysis
 Respondents indicated they would like to see less emphasis on statistics and greater
 emphasis on an analysis of the activity being covered in this section to help in better
 understanding vulnerabilities and risks. They indicated they would also like to
 see more information on new typologies, technologies, vulnerabilities and risks
 – including for products or specific industries – and better information on how to
 identify, monitor for and investigate these activities, as well as how to report them.
 They also would like to see more timely information presented in the publication.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                              5
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 12 of 66
Financial Crimes Enforcement Network


Industry Forum
While scoring well for usefulness, readers generally provided very little feedback on
this section. Respondents did say they would like to know how other BSA officers
use the information contained in the publication (i.e., training), and other such
feedback from peers. Several respondents suggested a Q&A forum where readers
could submit questions that would be answered in the publication.

General style/content of the publication
Some respondents suggested that the writing could be clearer and more concise,
with less technical and legal verbiage. Others commented that they would like to
see the formatting changed to an easier to read font and more information on fewer
pages (i.e., less white space).

Industry Focus
Many respondents indicated they like the industry focused issues, but don’t
necessarily want the focus to be on one industry for an entire issue. Instead, they
suggested including more industry related topics in each issue – particularly smaller
ones (such as community banks and credit unions), and industries that don’t receive
as much attention (such as precious metals/jewelry and insurance). One respondent
suggested doing a feature article on a particular industry (rather than a whole
issue), and including articles related to other industries, or content that is then
applicable to all industries. Some respondents suggested publishing an issue for
each industry. Respondents also expressed an interest in seeing more international
focus in the publication’s content.

Access to publication/access to previously published information
Several respondents commented on how we notify readers when a new issue is
published (via FinCEN Updates), asking if, for example, a PDF of the issue could
be sent along with the Update notification. Enhancing the index, which is available
online, and improving the ability of readers to find content from past issues were
also common requests.

Length & frequency of the publication
Respondents frequently commented that the publication should be shorter, and many
suggested including something like an executive summary that would highlight the
key points in each section/article – allowing readers to focus on the topics of particular
interest to them. Some respondents also thought it should be published more
frequently than its current publication schedule of twice yearly (May and October.)


  6                            SAR Activity Review — Trends, Tips & Issues (Issue 22)
        Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 13 of 66
                                                            Financial Crimes Enforcement Network


 We greatly appreciate the feedback that readers of the publication provide through
 the annual survey and through the online feedback process. The feedback provided
 helps FinCEN in identifying enhancements and changes that will increase the value
 of the publication to its readers, and in identifying future topics for the publication,
 and we will look for opportunities where we can include these suggestions in future
 plans for the publication. We encourage readers of the publication to sign up for
 FinCEN Updates4 to receive information on when the publication and survey are
 issued, and to continue to provide feedback.


      Foreign-Located Money Services Businesses:
      An Insight into the foreign-located MSB
      Population
      By FinCEN’s Office of Outreach Resources


 On July 21, 2011, FinCEN published in the Federal Register a final rule relating to
 money services businesses (the Final Rule).5 The Final Rule indicated that an entity
 may now meet the definition of a money services business (MSB) under the Bank
 Secrecy Act (BSA) regulations based on its activities within the United States, even
 if none of its agents, agencies, branches or offices is physically located in the United
 States. The Final Rule arose in part from the recognition that the Internet and
 other technological advances make it increasingly possible for persons to offer MSB
 services in the United States from foreign locations.6

 On March 14, 2012, FinCEN made available a new Registration of Money Services
 Business (RMSB) report. The new RMSB (FinCEN RMSB) allowed for foreign-
 located entities engaging in MSB activities in the United States to register as an MSB
 with FinCEN and thus comply with the registration requirement of the Final Rule.




 4.    Information on subscribing to FinCEN Updates can be found in the “What’s New” section of the
       FinCEN website at www.fincen.gov.
 5.    Definitions and Other Regulations Relating to Money Services Businesses, 76 FR 43585
       (July 21, 2011). http://www.gpo.gov/fdsys/pkg/FR-2011-07-21/pdf/2011-18309.pdf.
 6.    Id. at 43588.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                           7
         Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 14 of 66
Financial Crimes Enforcement Network


FinCEN makes available to the public, through the MSB Registrant Search Web
page,7 the registration information of MSBs submitting an RMSB. FinCEN currently
has approximately 37,000 registered MSBs,8 though this number fluctuates
throughout the year as new registrations are processed and businesses that are no
longer conducting MSB activities or fail to renew their registration drop off the
registration list. In this article, FinCEN examines the characteristics and common
trends identified from the registered foreign-located MSB population.

Analysis
The data available in the MSB Registrant Search Web page contains self-reported
information from U.S.-based and foreign-located MSBs. As a result, the analysis
summarized in this article is based on the information provided, through RMSBs,
by foreign-located MSBs. FinCEN staff analyzed the data to identify patterns and
trends in the foreign-located MSB population, including geographic location and
types of services provided.

Findings
Through August 2012, 80 foreign-located MSBs had registered with FinCEN, and
the available data revealed a number of key attributes about the foreign-located
MSB population.

Location of the foreign-located MSB Population
A geographic analysis of the foreign-located MSB population showed that the
registrants were located only in the Americas or in the United Kingdom, with 72 (90
percent) headquartered in Latin-America. Mexico was home to the highest number
of foreign-located MSBs who have registered, followed by Argentina and Uruguay.
The majority of registered MSBs from non-U.S. jurisdictions, with the exception of
those located in Mexico, were located in their home country’s capital city. MSBs
from Mexico, notably, originated from 27 states and a federal district.




7.   http://fincen.gov/financial_institutions/msb/msbstateselector.html.
8.   http://fincen.gov/financial_institutions/msb/msbstateselector.html.




     8                               SAR Activity Review — Trends, Tips & Issues (Issue 22)
capital city. MSBs from Mexico, notably, originated from 27 states and a federal
district.Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 15 of 66
                                                  Financial Crimes Enforcement Network
The following map, as well as Table 1, breaks down the number of registered
MSBs by county.
  The following map, as well as Table 1, breaks down the number of registered MSBs
  by country.


                                                                    Table 1:
                                                                Number of MSBs by
                                                                    Country
                                                           Country of          Number of
                                                            Locality        registered MSBs
                                                         Mexico                     33
                                                         Argentina                  12
                                                         Uruguay                    11
                                                         United
                                                                                     4
                                                         Kingdom
                                                         Canada                      4
                                                         Colombia                    4
                                                         Panama                      4
                                                         Venezuela                   3
                                                         Chile                       2
                                                         Peru                        2
                                                         Dominican
                                                                                     1
                                                         Republic


  Services
Services    Provided
         Provided
   As part of the registration process, MSBs are asked to indicate the type of MSB
Asactivities
    part of the registration
              that           process,
                   they provide       MSBs
                                 or will    are asked toForty
                                         be providing.    indicate
                                                               fivethe typeorof56
                                                                    MSBs,       MSB
                                                                                  percent of
activities that they provide  or will be providing. Forty  five MSBs,  or 56  percent
   those registered, indicated they offered money transmission services; 41 MSBs, or 51
of percent
   those registered,  indicated specified
            of the population,  they offered money
                                          being     transmission
                                                dealers  in foreignservices;
                                                                     exchange;41 31
                                                                                 MSBs,
                                                                                    entities, or
  39 percent of the registered MSBs, said they provided check cashing services. The
                                                                              12 of
  registration information also revealed that 37 foreign-located MSBs, 46 percent
  the population, engaged in more than one type of MSB activity. Most notably, 31
  MSBs indicated that they offered both check cashing and foreign exchange services.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                      9
          Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 16 of 66
Financial Crimes Enforcement Network


Table 2 shows the totals reported for each category of MSB activity listed.

                         Table 2: Number of MSBs by Activity
                       Category of MSB Activity            Number of registered
                              Reported                           MSBs
                    Check Cashier                                                  31
                    Money Transmitter                                              45
                    Seller of Prepaid Access                                         1
                    Provider of Prepaid Access                                       1
                    Dealer in Foreign Exchange                                     41
                    Other                                                            5

Geographic Location and the type of Services Provided
The available data contained a large number of foreign-located MSBs that engage in
more than one type of MSB activity; however, certain patterns of behavior emerged
based on the MSB’s geographic location.

Contrasting patterns were observed when comparing MSB activities offered by those
located in Mexico to those offered in almost any other country. Nearly all of the
MSBs located in Mexico offered both check cashing and foreign exchange services.
MSBs in Argentina, Uruguay, Panama, United Kingdom, Colombia, Venezuela,
Peru, Chile, and the Dominican Republic tended to provide money transmitting
services. Moreover, the only registered provider and seller of prepaid access was
located in the United Kingdom. The activities in which certain MSBs engage may be
representative of local population trends as these entities strive to meet the demand
of their customer base.

Conclusion
FinCEN will continue its outreach efforts in order to help entities engaging in MSB
activities to understand their BSA/AML obligations. FinCEN expects the number of
registered foreign-located MSBs to increase as the Internet and other technological
advances make it increasingly possible for persons to offer MSB services in the
United States from foreign locations.9 As additional foreign-located MSBs register
with FinCEN, the registration information that will be provided will contribute
significantly to a better understanding of the foreign-located MSB population and
the services they provide.

9.    Definitions and Other Regulations Relating to Money Services Businesses, 76 FR 43588
      (July 21, 2011). http://www.gpo.gov/fdsys/pkg/FR-2011-07-21/pdf/2011-18309.pdf.




     10                              SAR Activity Review — Trends, Tips & Issues (Issue 22)
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 17 of 66
                                                    Financial Crimes Enforcement Network




Law Enforcement Cases

  In this section of The SAR Activity Review we summarize cases where FinCEN
  information played an important role in the successful investigation and prosecution
  of criminal activity. Law enforcement case examples can be found on the FinCEN
  website under the link to Law Enforcement. This site is updated periodically with
  new cases of interest. The index of cases are listed by the type of form used in the
  investigation, type of financial institution involved, and type of violation committed.

  Contributing editors: Shawn Braszo, Don Battle, Sean Donnelly, Jim Emery, and Jack
  Cunniff.

  Since its creation in 1993, FinCEN’s Gateway program has served as the primary
  vehicle for state and local law enforcement to access FinCEN records. Originally,
  FinCEN established coordinators in each state to access records on behalf of law
  enforcement in their jurisdiction. As recognition of the value of FinCEN data grew,
  some major metropolitan police departments, as well as some statewide agencies,
  requested their own access to the data. Today, querying FinCEN records in state
  and local investigations is a common occurrence.

  In early 2012, FinCEN conducted outreach to all of our state and local law
  enforcement partners and asked for cases where FinCEN data played a useful role
  in their law enforcement investigations. We received many case examples from our
  state coordinators, state agencies and local departments in response to our outreach.

  Below, in their own words, are just some examples of how our stakeholders use
  FinCEN data. These examples have been edited only for confidentiality and
  privacy concerns.

  State Coordinator Cases
  State Coordinators are the primary contact points for local and state law
  enforcement agencies to obtain FinCEN records. Depending on the state, the
  coordinator could be the attorney general, state police, or the department of public
  safety. Frequently, the state coordinators are the primary contact point for a variety
  of resources that can benefit law enforcement agencies.




 SAR Activity Review — Trends, Tips & Issues (Issue 22)                                11
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 18 of 66
Financial Crimes Enforcement Network


Identity Theft
“A local credit union began receiving online applications in January of 2010 for new
accounts allegedly from females residing in a major metropolitan area. Similarities in the
online account applications started becoming apparent after fictitious checks were deposited
via ATMs shortly after the accounts were opened. It was discovered that each account was
opened with a fictitious driver’s license (the names and personal identifying information
were real), included previous addresses in another state, and came from IP addresses that
were from the same location and provider. One last application was received for a business
account with a local address, but the business owner resided out of state. The application
came from an IP address in the same location as the previous applications. Surveillance
video from the ATM deposits into the accounts appeared to be the same person, sometimes
carrying a small dog with a white car in the background which matched the business owner’s
Facebook photos of herself, her dog, and her new car. The females, whose names appeared on
the previous online accounts, were contacted and it was verified that they were identity theft
victims. One of the victims had previously worked for the suspect.

The credit union investigator requested the assistance of a state law enforcement unit
and a federal agency. Numerous SARs were found and helped to identify other financial
institutions having similar activity with the same suspect, identified more identity theft
victims, and pointed to other ongoing criminal investigations throughout the metro area.
Further investigation identified associated persons and the identity theft ring was tied to
several other criminal investigations involving the use of stolen personal and financial
information to open credit accounts in several local jewelry stores where the members of the
organization purchased several high-end pieces on credit which were later pawned for cash.

A grand jury indicted the group consisting of the ring leader and four others. The ring
leader was sentenced to 20 years in prison.”

Welfare Fraud
“A request for a FinCEN commercial database, CTR, and SAR request was received from
a county prosecuting attorney’s office regarding foreign nationals suspected of committing
welfare fraud. Information gathered indicated that the foreign nationals had set up a
cleaning business on Craigslist that involved wire transfers made through Western Union.
It was reported that one of the suspects involved may have been in the United States
illegally. The suspects were purported to have also engaged in welfare fraud in another state.

The information obtained from FinCEN was instrumental in the on-going investigation of
the welfare fraud case and also resulted in the deportation of the illegal persons.”




  12                             SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 19 of 66
                                                       Financial Crimes Enforcement Network


 Embezzlement
 “A plastic surgeon discovered an embezzlement scheme by his bookkeeper when, during the
 bookkeeper’s vacation, he learned of his overdrawn account. The bookkeeper had attempted to
 evade detection of the embezzlement by destroying, inter alia, bank records and tax deficiency
 notices. FinCEN records led us to request all records for the subject’s gaming activity from
 local casinos and we established that the subject had been embezzling for over 5 years to
 support her gambling habit. Upon our establishing an embezzlement of over $300,000 the
 subject took a nolo contendre plea and received a sentence of 20 years suspended after 78
 months.”

 Fraud
 “A local police department received a complaint from a woman who had fallen victim to
 an advance-fee lottery scheme perpetrated by an individual from another state. FinCEN
 matched the local investigator to that state’s law enforcement community and we discovered
 that the out-of-state perpetrator had in fact been victimized by others who had pressed him to
 send money overseas. FinCEN records were critical in helping local police coordinate their
 efforts with the other state’s law enforcement agency, helping to save valuable man-hours at
 the local level.”

 Elder Abuse (Financial)
 “FinCEN data was critical in identifying the disposition of a $20,000 withdrawal from a
 bank account of elderly persons. Investigators had earlier executed a search warrant for the
 records of the victims at the bank that had filed the CTR, but the bank had inadvertently
 missed the transaction in question. The discovery of the CTR resulted in us urging the bank
 to complete its compliance with the initial search warrant. Records pertaining to the cash
 withdrawal helped arrest the subject on charges of larceny totaling $218,000.”

 Cases from an Attorney General’s Office
 Case A
 “The defendant owned gas stations, and following an investigation by the department of
 revenue the defendant was indicted on multiple counts of fraud related to sales and tax records.

 A FinCEN search was conducted on the defendant and the defendant’s businesses.
 Information obtained through FinCEN established that the defendant had made numerous
 large cash deposits during the period of time covered by the indictment. The defendant was
 confronted with this information. Shortly thereafter, the defendant pled guilty to all charges.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                      13
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 20 of 66
Financial Crimes Enforcement Network


In addition, the defendant claimed he had no assets. The FinCEN searches identified financial
accounts controlled by the defendant. This information was vital at sentencing. The defendant
was sentenced to a period of probation and ordered to pay almost $1 million in restitution.”

Case B
“The defendant was the former president of a technology firm. The defendant executed a
false billing scheme involving multi-million dollar contracts with the state for drug testing.
During negotiations with the defendant to settle a false claim suit, the defendant asserted
that her assets had dissipated. FinCEN searches provided account and deposit information
of accounts controlled by the defendant. This information was important in obtaining a
settlement of almost $400,000 in restitution to the state.”

Case C
“A FinCEN search of the defendant company identified a Suspicious Activity Report. The
information contained in the SAR was used to track down additional loan transactions.
Interviews of newly identified victims led to the filing of an Amended Complaint naming the
owner of the mortgage company as a defendant and individually liable. Shortly thereafter,
the case settled with $7,500 in restitution and a $10,000 civil penalty.”

State Agency Cases
FinCEN maintains Memoranda of Understanding with some state agencies that
have criminal investigative authority in matters such as taxes, revenues, and
gambling. Typically, these agencies requested FinCEN data so frequently that they
tended to overburden the state coordinators. Based on the agencies’ mission and
use of the data, FinCEN provides access to ensure that BSA material is used to its
fullest extent.

Insurance Fraud
“I am a crime intelligence analyst in the fraud division currently assisting my detective on
a worker’s compensation case that involves a check cashing company. We decided to look at
the companies that have cashed the largest number of checks at this particular check cashing
establishment. We wanted to see if in fact the amount of payroll cashed was equivalent
to what was reported to the worker’s compensation insurance carrier. After getting the
worker’s compensation coverage information, I realized that the company did not have any
coverage in over 3 years. I was a bit disappointed because I was hoping the company was
still in business and active in cashing checks, otherwise the case would not pan out to be
much of anything.




  14                             SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 21 of 66
                                                        Financial Crimes Enforcement Network


 The decision to run a FinCEN report on the company was made, and lo and behold, CTRs
 for this particular company have been nonstop through and including those years they
 were not covered by worker’s compensation insurance, including a recent transaction. Our
 investigation received a boost thanks to FinCEN.”

 Money Services
 “Our money service business squad considers the FinCEN intelligence as invaluable to
 their work. Without it, there would be no MSB investigations. The vital reason for using
 the FinCEN intelligence is that it identifies some of the filers as known criminals, which
 in turn incriminates the money service businesses that they are utilizing. The financial
 analysis on FinCEN also corroborated the days of the week when the criminal activity
 occurs most frequently.”

 Taxes
 “This case involved a doctor who had not accurately reported his true income filed on state
 and city business and personal income tax returns for several years. As a result of “mining”
 FinCEN data, we discovered this doctor had moved over $3 million to accounts in offshore
 locations. The source of this money was diverted insurance payment checks that were
 initially deposited into personal accounts and then forwarded offshore. Further investigation
 determined this money had not been reported on the business or personal income tax returns.
 It was also discovered that he distributed money into domestic accounts held in his children’s
 names and into other investment accounts.

 After reviewing subpoenaed bank account information and 1099 statements from insurance
 companies, we determined the doctor had underreported his income by more than $6 million
 for tax years 2005 through 2009. The doctor learned of the investigation through one of
 the subpoenaed financial institutions. His counsel contacted the prosecutor’s office and
 indicated his client wanted to pay his full tax liability and take responsibility for what he had
 done wrong.”

 Local Municipality Cases
 Local police and sheriff agencies increasingly use FinCEN records in their
 investigations. Many local agencies have representatives on SAR review teams and
 task forces that share FinCEN data. In addition, FinCEN has given direct access to
 some local agencies with a robust financial crime focus that have a history of using
 the data.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                       15
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 22 of 66
Financial Crimes Enforcement Network


Illegal Exports
“While investigating subjects of interest because of previous criminal activity, local
detectives and federal agents found multiple SARs indicating (cash-in) illicit structured
transactions designed to avoid reporting requirements. Investigators found SARs filed in
a 2-year period on a pilot and operator of a passenger jet charter service operating from a
townhouse residence in the local area, detailing a pattern of structuring.

After reviewing numerous SARs, detectives noted that from in a 14-month period, there were
two hundred and fifty three (cash-in) structured deposits totaling approximately $1.7 million.

In addition, other SARs noted that the main subject used approximately 16 bank accounts
titled in his name, the names of his family members, friends or business associates, or names
of companies owned by him, family members or business associates to make the placement of
the structured cash deposits.

After the initial structured cash deposits, the SARs noted that the funds were combined and
moved from the initial account to or through one or more of the associated accounts to layer
prior to being transferred to destination accounts. Subsequently, the pooled funds were
transferred from the destination accounts to the escrow account of the respective aircraft title
companies to purchase aircraft as the final step in the integration process.

Based on SARs, detectives subpoenaed and reviewed video bank surveillance tapes. The
video bank surveillance clearly noted that two bank employees assisted in the structured cash
deposits to include knowingly and willfully failing to file a Currency Transaction Report, as
required by law.

A bank legal internal investigation was initiated and upon completion, a total of 11 bank
employees were terminated. The main bank official (a subject associate) was later indicted for
conspiracy to commit money laundering.

Following one of the money trail in this investigation, also led to a personal check that was
traced to a freight forwarding company. Further investigation revealed that the check was
payment for shipment of an exported container. A subpoena was served upon the freight
forwarding company for any and all documents related to the subjects. Review of those
documents uncovered that the subjects exported 11 stolen boats. This information was
forwarded to federal agencies which assisted in the indictment of four additional targets in
another criminal investigation.




  16                              SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 23 of 66
                                                       Financial Crimes Enforcement Network


 As a result of this SAR investigation, detectives seized 32 bank accounts, two Lear jets, three
 high-end vehicles and obtained probable cause for a search warrant for the subject’s residence
 which resulted in the seizure of additional bulk cash discovered hidden in the attic. The case
 further resulted in seven state arrest warrants being issued. All but one arrest warrant were
 served, the seventh subject escaped prosecution by fleeing out of the country.”

 Failure to Follow Reporting Requirements
 “An investigation was initiated on a jewelry and pawn store and its owner due to
 information obtained by a confidential source (CS). According to the CS, the store was a
 money service business that was assisting in the laundering of illegal gambling proceeds
 by cashing checks over $10,000 without complying with the reporting requirement as
 mandated by the U.S. Department of Treasury. Either the Currency Transaction Report
 (CTR) was never filed or, the information listed on the CTR was intentionally incorrect
 and misleading. The owner also provided the CS with a list of nominee names that should
 be used as payees on the checks in order to conceal the identity of the persons cashing the
 checks. The owner was aware that the checks being cashed by these individuals were from
 illicit gambling proceeds and would charge 4 to 6% of the checks in order to cash them and
 violate the reporting requirement for these individuals, instead of her normal fee of 2 to 3%
 for legitimate customers.

 In order to verify the validity of the information, an undercover operation was initiated
 which targeted the store and its owner. The undercover officer (UO) was introduced to
 the owner by the CS as an individual needing checks cashed without the filing of a CTR.
 The UO then cashed numerous checks at the business with the owner that were each over
 $10,000. The checks were intentionally made payable to a false nominee name, which was
 on a list of names provided by the owner. When the checks were cashed by the UO, the
 owner failed to obtain his identification for the CTR and cashed the checks anyway. The
 owner charged the UC 4% for each check cashed. Three checks were cashed by the UO in
 this manor totaling $33,000. Using the FinCEN data base, it was confirmed that the owner
 failed to file the CTRs for the three checks cashed by the UC at her business.

 In addition to the undercover operation, a financial analysis of the business bank accounts for
 the years 2008-2009 revealed 105 checks cashed at the business that were all over $10,000. A
 FinCEN data base check revealed that these transactions either did not have a corresponding
 CTR or the CTR that was filed had inaccurate information concealing the identity of the person
 receiving the cash. The total dollar amount of checks cashed by the owner that violated the
 reporting requirement was $3.2 million dollars for the years 2008-2009.

 As a result of using the FinCEN database, this case resulted in the state prosecution and the
 seizure of almost $150,000.”



SAR Activity Review — Trends, Tips & Issues (Issue 22)                                     17
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 24 of 66
Financial Crimes Enforcement Network


Narcotics Trafficking, Money Laundering, and Mortgage Fraud
“Beginning in 2009, a major drug investigation was established on targets who were a group
of narcotics traffickers in the local area.

While conducting FinCEN checks, a number of CTRs and 8300s were observed on the
main targets. The CTRs led this detective to the targets’ main bank accounts, and through
subpoenas, we were able to identify assets that had been purchased with laundered funds
from narcotic sales. The 8300s also identified assets that were later seized reference to being
purchased with laundered funds from narcotic sales.

Four subjects were arrested and charged with Title 21 U.S.C 963 Conspiracy to Import at
least 5 Kilograms of Cocaine, and Title 18 U.S.C 1956 Money Laundering. One subject was
charged with bank fraud. Approximately $1.4 million in property and assets were seized and
all subjects have pleaded guilty and are serving their sentences in federal prison.”

Stolen Cars
“Members of the county police department had been conducting a joint investigation
targeting a multi-spectrum stolen/carjacked vehicle exportation organization.

During the months of March and April, 2011, the police department conducted an
investigation into the purchasing of stolen and carjacked vehicles from within the county
that were being exported to Africa. During the investigation, several suspects were
identified as key members of the operation. FinCEN queries were conducted, and this
information was used to confirm and identify additional locations for the suspects operation.
Due to this information, numerous search and seizure warrants were executed and stolen
property was recovered, along with the arrests of three suspects.

The three suspects in this case were subsequently charged in U.S. district court where they
have pleaded guilty and have received federal prison sentences.”

SARs/CTRs Lead to Asset Forfeiture
“While investigating an alleged robbery at an upscale hotel, local law enforcement officials
identified the complainant of the alleged robbery as a suspected drug trafficker. The initial
investigation also resulted in the on scene-seizure of currency in excess of $131,000. Asset
forfeiture investigators found SARs filed in 2010 and 2012, as well as CTR information filed
during 2011, directly associated to the defendant.

This SAR and CTR information assisted investigators with the identification of bank
accounts and detailed the structuring of funds. Specifically, within a 2-year period, the




  18                              SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 25 of 66
                                                       Financial Crimes Enforcement Network


 defendant structured more than $246,000 by means of cash deposits and cash withdrawals.
 The defendant had no record of legitimate employment and provided investigators with
 conflicting information as to the origin of the $131,000.

 As the investigation progressed, the defendant attempted to bribe several law enforcement
 officials in an attempt to avoid criminal charges. Preliminary investigation did not identify
 any accounts subject to seizure and/or forfeiture, at present. The defendant’s criminal
 history for trafficking controlled dangerous substances, combined with current evidence of
 marijuana possession, drug ledgers for bulk sales of marijuana distribution, and evidence
 refuting the alleged robbery resulted in the forfeiture of the aforementioned seized currency.”

 Drugs and Money Laundering
 “In October of 2010, while observing a vehicle with an out of state registration and heavily
 tinted windows traveling in the Northwest quadrant of the city, officers conducted a
 traffic stop on the vehicle. A registration check on the tags revealed that the tags had been
 suspended. After observing what appeared to be marijuana on the floor of the vehicle in front
 of the front seat passenger, the officers asked the owner for consent to search the vehicle. The
 vehicle was occupied by three men.

 A search of the vehicle uncovered over $16,000 in U.S. currency and $53,000 in money
 orders from various locations within the city. The money orders were in various
 denominations and had all been purchased within a 2 to 3-day time frame. The vehicle’s
 owner was arrested for having an unregistered vehicle. Seized from the driver was an
 additional $150 in U.S. currency. All the currency and money orders were seized for civil
 forfeiture processing. Additionally, further investigation into the matter led to the issuance
 of a search warrant for the driver’s local address. Seized as a result of the warrant was an
 additional $5,953 in U.S. currency, fifty-four and three-tenths (54.3) grams of marijuana,
 and thirty Oxycodone pills.

 As a result of the financial investigation, a FinCEN Gateway query revealed possible
 “smurfing” activities by the vehicle’s owner. This information assisted in the administrative
 forfeiture of both the currency and money orders.”




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                      19
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 26 of 66
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 27 of 66
                                                     Financial Crimes Enforcement Network




Issues & Guidance

  This section of The SAR Activity Review discusses current issues, including those raised
  with regard to the preparation and filing of SARs, and provides guidance to filers.


    Project STAMP (Smugglers’ and Traffickers’
    Assets, Monies and Proceeds)
    By United States Immigration and Customs Enforcement Homeland
    Security Investigations

  Project Smugglers’ and Traffickers’ Assets, Monies and Proceeds (Project STAMP)
  is a U.S. Immigration and Customs Enforcement (ICE) Homeland Security
  Investigations’ (HSI) enforcement initiative aimed at targeting the illicit proceeds
  earned by human smuggling and human trafficking (HS/HT) organizations. These
  criminal networks create substantial risks to the security of the United States.

  In an effort to make sure that HSI utilizes the full thrust of the authorities granted to
  them as a result of the creation of the Department of Homeland Security (DHS), HSI
  launched Project STAMP to:

     (1) Attack organizations involved in HS/HT from an aggressive anti-
     money laundering stance. Following the money trail will assist HSI in the
     identification of key members of criminal organizations involved in HS/HT
     activity, as well as the identification of assets, monies and proceeds derived
     from or used in support of their criminal activity; and,

     (2) Ensure the seizure of these assets, which is crucial to shutting down
     entrenched criminal activity.

  HSI has already identified a multitude of methods to hide, move and store illicit
  proceeds associated with illegal activity, including financial institutions, money
  services businesses, bulk cash smuggling organizations, etc. Seizing the funds that
  motivate and amplify the problems associated with these organizations is a high
  priority for HSI and DHS.




 SAR Activity Review — Trends, Tips & Issues (Issue 22)                                21
        Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 28 of 66
Financial Crimes Enforcement Network


HSI continues to explore ways in which the government and the private sector
can productively partner together to better identify and report on the suspicious
transaction activity related to HS/HT organizations. HSI’s efforts related to Project
STAMP are in accordance with the guiding principle within DHS’s Strategic Plan of
building trust through collaboration and partnerships.

As part of Project STAMP, HSI aims to continuously identify and disseminate
typologies/red flag indicators related to money laundering by HS/HT organizations.
The goal is to map out how these organizations use the financial sector, both
domestically and abroad, to collect payment for illegal services rendered and to
share these methods with the financial community, ultimately resulting in the
shutting down of identified vulnerabilities. A preliminary review of both active
and closed HS/HT investigations has identified the following red flag indicators of
suspicious financial transactions associated with HS/HT organizations:

 22 Structuring both deposits and international wires to avoid currency transaction
    reports;

 22 Bank accounts being opened for businesses where the customer does not
    appear to have any involvement in activities related to the business;

 22 Bank accounts opened in the name of companies that do not have any genuine
    business activities that are consistent with the type of company they claim to
    be;

 22 Wire transfers from one business account to another that have no apparent ties;

 22 Multiple ATM withdrawals at the daily maximum amount (in this case, $1,000
    per day);

 22 The use of credit card processing accounts with corresponding business fronts
    with even number charges credited to the account ranging from $300 to $5,000
    dollars;

       • Credit card payments to online escort services for advertising. These
         include small posting fees to companies such as Craigslist as well as more
         expensive, higher-end advertising and website hosting companies.

 22 Numerous BSA filings by multiple financial institutions;

 22 Large cash deposits inconsistent with business type;

 22 Large payments to foreign companies that are inconsistent with the amount of




  22                           SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 29 of 66
                                                  Financial Crimes Enforcement Network


      product received from these companies;

   22 Unusual withdrawal, deposit or wire activity inconsistent with normal business
      practices, or dramatic and unexplained change in account activity;

   22 Sudden change in customer’s normal business practices, i.e., dramatic increase
      in deposits, withdrawals or wealth;

   22 Structuring financial transactions at money service businesses (MSBs) (multiple
      financial transactions structured under the $3,000 MSB’s reporting limit on the
      same day); and

   22 Numerous incoming wire transfers or personal checks deposited into business
      accounts with no apparent legitimate purpose.

 The success of Project STAMP is integral to our mission of protecting the homeland
 by shutting down criminal organizations that seek to exploit individuals through
 smuggling or trafficking schemes. This enforcement initiative is impacting criminal
 organizations as a whole, by targeting the methods by which these organizations
 move and launder money to support their illegal activity.

 Protecting the United States is more than just a responsibility for government
 agencies; it’s a shared mission for all Americans. The importance of private sector
 partnership in this shared mission cannot be overstated. There are several ways
 individuals and businesses can help:

   • Partner – Become a private sector partner with HSI by contacting your local
     HSI Special Agent in Charge office and arranging a Cornerstone presentation
     for your business or organization;

   • Report – Report suspicious financial, commercial or trade activity by contacting
     your local HSI Special Agent in Charge office, or by calling 1-866-DHS-2-ICE;
     and,

   • Subscribe – Sign up for HSI’s quarterly newsletter, The Cornerstone Report, for
     new developments in financial and trade fraud crimes.

 HSI is the largest investigative agency in the Department of Homeland Security. HSI’s
 mission is to conduct criminal investigations by utilizing our investigative authority
 to protect the United States against terrorist and other criminal organizations who
 threaten our safety and national security; to combat transnational criminal enterprises
 who seek to exploit America’s legitimate trade, travel, and financial systems; and




SAR Activity Review — Trends, Tips & Issues (Issue 22)                             23
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 30 of 66
Financial Crimes Enforcement Network


to uphold and enforce America’s customs and immigration laws at and beyond our
nation’s borders. To learn more about Project STAMP and how you can contribute to
the shared mission of Homeland Security, visit www.ice.gov/cornerstone.



  Analysis of Suspicious Activity Report (SAR)
  Inquiries Received by FinCEN’s Regulatory
  Helpline
  By FinCEN’s Office of Outreach Resources


FinCEN operates a Regulatory Helpline that provides assistance for financial
institutions seeking clarification of their obligations under FinCEN’s regulations
implementing the Bank Secrecy Act (BSA) and certain requirements of the Uniting
and Strengthening America by Providing Appropriate Tools Required to Intercept
and Obstruct Terrorism (USA PATRIOT) Act and other statutory authorities.10 This
article provides financial institutions with guidance and instruction regarding the
proper completion of the new FinCEN Suspicious Activity Report (FinCEN SAR).
The article specifically addresses common inquiries that the Regulatory Helpline
received regarding completion of the FinCEN SAR and provides a compilation of
additional helpful guidance and instruction.

FinCEN SAR Filing Guidance and Instructions
Between July 1, 2011 and June 30, 2012, the Regulatory Helpline received 1,690
inquiries associated with FinCEN’s SAR regulations or requesting assistance in
filing a SAR. Since March 29, 2012, when financial institutions began submitting the
FinCEN SAR using FinCEN’s BSA E-Filing System, approximately one in four of all
SAR inquiries have been directly associated with completion of the FinCEN SAR.

Effect of FinCEN SAR on existing regulatory obligations
A common theme among these FinCEN SAR inquiries was uncertainty regarding
the status of FinCEN’s SAR regulations and compliance requirements. Financial
institutions repeatedly sought reassurance that the underlying reporting obligations
had not changed with the issuance of the new, electronic-only FinCEN SAR.
FinCEN publicly clarified this fact by issuing guidance on the use of new FinCEN

10. Financial institutions can contact FinCEN’s Regulatory Helpline at 800-949-2732 or by e-mailing
    BSA_Resource_Center@fincen.gov.



  24                                SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 31 of 66
                                                   Financial Crimes Enforcement Network

 SAR (and FinCEN Currency Transaction Report or CTR) when the new reports
 began to be accepted. Specifically, the guidance noted that the FinCEN SAR (and
 FinCEN CTR) “does not create new obligations or otherwise change existing
 statutory and regulatory expectations of financial institutions.”

 Deadlines for adopting the FinCEN SAR and mandatory e-filing
 Following the initial release of the technical specifications for the new FinCEN SAR
 on September 29, 2011, and the proposal mandating the electronic filing of reports
 submitted to FinCEN, industry raised concerns in its comments to the mandatory
 e-filing proposal regarding the potential challenge on meeting both requirements
 simultaneously no later than June 30, 2012. FinCEN provided substantial
 clarification on the interplay of these two separate, but related requirements in a
 notice that established the deadline by which financial institutions must adopt the
 electronic-only FinCEN SAR to be March 31, 2013, while restating the expectation
 that mandatory e-filing would be required as of July 1, 2012. That notice also made
 clear that until March 31, 2013, financial institutions could continue to file the older
 or “legacy” versions of the industry-specific SARs. However, institutions may begin
 filing on the FinCEN SAR prior to March 31, 2013. The final notice establishing the
 requirement of mandatory electronic filing for all reports submitted to FinCEN, with
 certain limited exemptions, cemented that deadline as July 1, 2012.

 As of July 1, 2012, therefore, all financial institutions, unless granted a specific
 limited-time exemption from FinCEN, must file all SARs electronically. Institutions
 filing paper SARs will be informed of their error and may be subject to civil money
 penalties for continued reporting requirement violations. Starting April 1, 2013, all
 financial institutions must file the FinCEN SAR. At that point, no electronically filed
 legacy SARs will be accepted.

 Common filing assistance inquiries
 To assist financial institutions in their adoption of the new FinCEN SAR, FinCEN’s
 Regulatory Helpline and E-Filing Help Desk have been responding to a variety of
 technical and regulatory-related inquiries regarding the new report. The remainder
 of this article provides helpful guidance, instructions, and other information for
 financial institutions regarding the appropriate way to complete a FinCEN SAR.
 In particular, we focus on how to complete a specific “Step” or “Item” with the
 new FinCEN SAR, much of which can be found in the guidance documents and
 notices highlighted earlier in this article or within Appendix C of the FinCEN SAR




SAR Activity Review — Trends, Tips & Issues (Issue 22)                              25
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 32 of 66
Financial Crimes Enforcement Network


technical specifications that are located at http://bsaefiling.fincen.treas.gov/news/
FinCENSARElectronicFilingRequirements.pdf. Financial institutions are also able
to review and download the test copy of the FinCEN SAR to assist in their efforts
to adopt the new standard format by accessing FinCEN’s BSA E-Filing System
user test site at http://sdtmut.fincen.treas.gov/news/SuspiciousActivityReport.pdf.
Additionally, this publication includes another helpful article providing general
guidance on compliance with FinCEN’s requirements when using a FinCEN SAR
and a further article explaining how to complete a well-written FinCEN SAR
narrative. Finally, FinCEN has made available a recorded webinar addressing
most of the same questions and areas of guidance for completing the FinCEN SAR
included in this article http://www.fincen.gov/whatsnew/html/20120928.html.

Miscellaneous inquiries related to all Steps and/or Items
 • When do you check the “Unknown” box? Financial institutions should file all
   FinCEN Reports with complete and correct information. However, if an Item is
   unknown, leave that Item blank and check the “Unknown” box.

 • Are Items without an asterisk required to be completed? Items with an
   asterisk (“*” or Items displaying a “yellow” field) are critical fields that the
   filer is required to complete before the FinCEN Report can be submitted
   electronically. If an Item does not have an asterisk, it is not a critical field.
   However, financial institutions should file all FinCEN Reports with complete
   and correct information. As noted above, if an Item is unknown for a critical
   field, the institution must check the associated “Unknown” box or the
   electronic filing cannot be submitted.

 • What if the report requires multiple Steps or Items of the same section,
   such as branch information, subject information, and financial institution
   information? If a particular FinCEN SAR requires multiple Steps and/
   or Items of the same section, the filer would click the “+” button to create
   additional Steps and/or Items. Batch filers would add additional records of
   the same type. For example, there would be multiple 2C records for activity
   occurring at multiple branch locations, multiple 4A records to accommodate
   more than one suspect, and multiple 2B records if more than one financial
   institution was involved.




  26                          SAR Activity Review — Trends, Tips & Issues (Issue 22)
     the same type. For example, there would be multiple 2C records for activity
      Case 1:17-cv-04179-DLC
     occurring  at multiple branchDocument
                                   locations, 75-2  Filed
                                              multiple 4A12/14/17
                                                           records toPage  33 of 66
                                                                     accommodate
     more than one suspect, and multiple 2B records    if moreCrimes
                                                   Financial   than one financial Network
                                                                     Enforcement
     institution was involved.
   • How do you enter data that is formatted, such as phone numbers and
  • How   do you enter
      identifying      data that
                  numbers?       is all
                             Enter   formatted,   suchnumbers
                                         identifying   as phone
                                                              asnumbers    and string
                                                                 a single text
     identifying numbers?
      without formatting or Enter
                            specialallcharacters
                                       identifying  numbers
                                                  such      as a single
                                                       as hyphens       text string
                                                                   or periods.   The
     without formatting or special characters   such as hyphens or
      below example demonstrates how a phone number would appear.   periods.  The
     below example demonstrates how a phone number would appear.




  •• When/How
      When/Howdo    doyou
                       youfile
                            fileaareport
                                    reportfor
                                           forcontinuing
                                               continuingactivity?
                                                            activity?InIn
                                                                        the May
                                                                          the May 2012
                                                                                    2012
     SAR  Activity  Review   (Issue  21), FinCEN   provided  guidance   on regulatory
      SAR Activity Review (Issue 21), FinCEN provided guidance on regulatory
     obligations
      obligationsregarding
                   regardingfiling
                               filinga aSAR
                                         SARononcontinuing
                                                 continuingactivity which
                                                             activity  whichexplain
                                                                              explainthethe
     timing
      timingofofwhen
                 whenthe
                       theactivity
                           activityshould
                                      shouldbebereported and
                                                  reported andthe deadlines
                                                                the deadlinesforfor
                                                                                 thethe SARs.
     SARs.   http://www.fincen.gov/news_room/rp/files/sar_tti_21.pdf.
      http://www.fincen.gov/news_room/rp/files/sar_tti_21.pdf.

      TheFinCEN
     The   FinCENSAR SARhashasmade
                                madethe thereporting
                                             reportingofofcontinuing
                                                            continuing   activity
                                                                      activity     easier
                                                                                easier forfor filers.
      In Item
     filers. In1Item
                 (Filing  Type),Type),
                      1 (Filing   filers filers
                                         must must
                                                checkcheck
                                                       the “Continuing      activity
                                                              the “Continuing        report” box
                                                                                 activity
      to denote
     report”   boxthat the report
                   to denote   that is
                                    theonreport
                                           continuing   activity. The
                                                 is on continuing       filer should
                                                                    activity.         include the
                                                                               The filer
      prior report
     should   includeDocument
                       the prior Control     Number or
                                  report Document          File Number
                                                       Control   Numbertoorassociate    the current
                                                                               File Number    to
      filing with  the past  report.
     associate the current filing with the past report.

                                                                                             30




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                          27
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 34 of 66
Financial Crimes Enforcement Network




      Then, in Item 28 (Cumulative amount), filers can enter both the amount
      associated
      Then, in
      Then,   inItemwith
                 Item   28the
                       28       suspiciousamount),
                            (Cumulative
                           (Cumulative      activity filers
                                           amount),  being   reported
                                                      filerscan
                                                             canenter    within
                                                                  enterboth     the
                                                                          boththe
                                                                               the    filing associated
                                                                                    amount
                                                                                  amount      but
      also
      with separately
      associated    withenter
            the suspicious       the cumulative
                           the activity
                                suspicious
                                        being      amount
                                            activity being
                                               reported      for all
                                                             reported
                                                          within  thethe  continuing
                                                                         within
                                                                       filing butthe    activity
                                                                                      filing
                                                                                   also       but
                                                                                         separately
      (note:
      enter   thiscumulative
             the   item enter
      also separately     is only  applicable
                                 amount
                                 the     for allwhen
                                     cumulative  the   the "Continuing
                                                     continuing
                                                   amount                  activity
                                                             for allactivity         report"
                                                                             (note: this
                                                                     the continuing        Itembox
                                                                                        activity   is
                                                                                                is only
      checked
      applicable
      (note: thisinwhen
                    Itemis1).
                   item     the “Continuing
                             only  applicable activity
                                               when the report”  box is checked
                                                           "Continuing     activityin   Item 1).
                                                                                     report"   box is
      checked in Item 1).




                                                                                   31
                                                                                   31
 28                                 SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 35 of 66
                                                     Financial Crimes Enforcement Network


 Inquiries related to Items in Step 1 (Filing Institution Contact
 Information)
   • “Type of financial institution” (Item 82) – Select the option that identifies the
     type of financial institution entered in Item 79 (Filer name). If none of the options
     apply, select “Other” and enter a brief description in the associated text field.

      If the financial institution is a non-bank residential mortgage lender or originator,
      select “Other” and enter “NON-BANK RESIDENTIAL MORTGAGE” in
      the associated text field. If the financial institution is a dealer in precious metals,
      stones, or jewels, select option “Other” and enter “DEALER IN PRECIOUS
      METALS STONES JEWELS” in the associated text field.




   • “Primary federal regulator” (Item 78) – Select the appropriate option from the
     drop-down list to identify the Primary Federal Regulator or BSA Examiner of the
     filing institution. If more than one regulator option could apply, select the regulator
     that has primary responsibility for enforcing compliance with the BSA. If Item
     82 option “Casino/Card Club,” “Insurance Company,” or “MSB” is selected, the
     Item 78 entry must be “Internal Revenue Service (IRS).” If the financial institution
     filing the FinCEN SAR is subject to U.S. law and none of the other codes apply,




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                  29
        Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 36 of 66
Financial Crimes Enforcement Network


       as may be the case11 for non-bank residential mortgage lenders or originators, the
       entry must be “Internal Revenue Service (IRS).” If the FinCEN SAR is being filed
       by a government agency or if the financial institution filing the FinCEN SAR is not
       subject to U.S. law, the entry must be “Not Applicable”.

  • “Financial institution identification” (Item 84) – Select the option that
    identifies the financial institution entered in Item 79 (Filer name) and enter
    the identifying number in the text field. If “Research, Statistics, Supervision
    and Discount (RSSD)” is selected, but the identifying number is unknown, the
    information can be accessed at the Federal Financial Institutions Examination
    Council (FFIEC) Web Site at http://www.ffiec.gov/find/callreportsub.htm.

  • Address information for filing institution (Items 85-89) – Enter the permanent
    street address for the financial institution entered in Item 79 (Filer name).

  • “Internal control/file number” (Item 91) – To avoid an illegal disclosure of
    a FinCEN SAR, financial institutions often assign a unique internal control
    number/file number to each report, which law enforcement or regulatory
    agencies can reference without disclosing the existence or content of a
    particular FinCEN SAR. Use this field to reference any such assigned unique
    control number for the SAR.

  • “Law Enforcement (LE) contact information” (Items 92-95) – If an LE
    agency was informed of the suspicious activity, enter the LE agency’s contact
    information in Items 92-95.

  • “Filing institution contact office” (Item 96) – Enter the name of the filing
    institution contact office where additional information about the FinCEN SAR
    or supporting documentation can be requested.

  • “Filing institution contact phone number” (Item 97) – Enter the contact office
    telephone number and extension (if there is an extension).

Inquiries related to Items in Step 2 (Filing Institution Where
Activity Occurred)
  • “Type of financial institution” (Item 47) – See Item 82 in Step 1 for answer to
    similar question.


11. See FinCEN Administrative Ruling FIN-2012-R005 for clarification regarding the primary
    federal regulator of certain non-bank mortgage lenders and originators that are subsidiaries of
    federally regulated banks.




  30                                SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 37 of 66
                                                   Financial Crimes Enforcement Network


   • “Primary federal regulator” (Item 48) – See Item 78 in Step 1 for answer to similar
     question.

   • “Financial institution identification” (Item 51) – See Item 84 in Step 1 for answer
     to similar question.

   • “Financial institution’s role in transaction” (Item 52) – Check the box that
     describes the financial institution’s role in the transactions identified in the
     suspicious activity as it pertains to the products or instruments checked in
     Items 39 and 40 (if both apply, check “Both”). For example, a money services
     business (MSB) selling money orders would choose “Selling location” while
     the same MSB would choose “Paying location” if it cashed the money orders
     involved in the suspicious activity. If the MSB both sold and cashed the money
     orders involved in the suspicious activity, it would select “Both”. If neither
     choice is appropriate, please leave this Item blank.

   • Address information for where the activity occurred (Items 57-61) – Enter
     the permanent street address for the financial institution entered in Item 53
     (Legal name of financial institution). Leave Item 59 (State) blank if the state is
     unknown or the country is not the United States, Canada, or Mexico.

   • “Internal control/file number” (Item 62) – See Item 91 in Step 1 for answer to
     similar question.

   • “Branch’s role in transaction” (Item 64) – See Item 52 in Step 2 for answer to
     similar question.

   • Address information for branch where activity occurred (Items 65-70) – Enter
     the permanent street address for branch. If no branch was involved in the
     suspicious activity, check “If no branch activity involved, check this box” and
     leave Items 64-70 blank.

 Inquiries related to Items in Step 3 (Subject Information)
   • Who is the subject? (Items 3-5) – A subject is an individual or other entity
     potentially involved in the suspicious activity. Enter the individual’s full
     name or the entity’s legal name (for example, the legal name is the name on the
     articles of incorporation or other document that established the entity). Do not
     abbreviate names unless an abbreviation is part of the legal name.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                31
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 38 of 66
Financial Crimes Enforcement Network


 • “NAICS Code” (Item 7a) – Select the option that best identifies the occupation
   or type of business entered in Item 7 (Occupation or type of business).
   Filers can access the FinCEN-approved list of North American Industry
   Classification System (NAICS) codes from the BSA E-Filing Web Site at http://
   bsaefiling.fincen.treas.gov/main.html. If no selection from the NAICS code is
   appropriate, use a specific descriptive word or phrase, such as “Carpenter” or
   “Retired Carpenter” (but not simply “Retired”) on the “Occupation” field and
   do not select a NAICS code.

 • “Relationship of the subject to an institution” (Item 21) – If the subject has a
   relationship with a financial institution or individual listed in Step 1 or 2 of the
   FinCEN SAR, enter the financial institution’s TIN in Item 21a (Institution EIN).
   Then select all options (21b through 21l) that describe the relationship. If the
   relationship is not covered by any of these options, select option 21z (Other)
   and enter a brief description of the relationship(s) in the “Other” text field.

 • “Status of the relationship” (Item 22) – If Items 21h (Director), 21i (Employee),
   21k (Officer), or 21l (Owner or Controlling Shareholder) is selected, indicate the
   status of relationship.

 • “Financial institution TIN and account number(s) affected that are related
   to subject” (Item 24) – Enter information about any accounts involved in the
   suspicious activity that are related to the subject entered in Step 3 (Subject
   Information). An account is related to a subject if the subject owns the account,
   has control over the account, or conducted activity in or through an account
   the subject does not own or control. If no account has been identified as being
   related to the suspicious activity, check the “No known accounts involved”
   box. If the account is located at a foreign financial institution, check the “Non-
   U.S. Financial Institution” box. Enter all identifying numbers as a single text
   string without formatting or special characters such as hyphens or periods. If
   multiple financial institution TINs or accounts numbers are affected, the filer
   would click the “+” button to create additional Items.

 • “Subject’s role in suspicious activity” (Item 25) – Select the Item from the
   drop down menu that describes the subject’s role in the suspicious activity as
   it pertains to the products or instruments checked in Items 39 and 40 (note: if
   both apply, check “Both”).




 32                           SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 39 of 66
                                                              Financial Crimes Enforcement Network




 Inquiries related to Items in Step 4 (Suspicious Activity
 Information)
   Inquiries related to Items in Step 4 (Suspicious Activity Information)
   • “Date or date range of suspicious activity for this report” (Item 27) – Enter the
        “Date or date
    • suspicious            range
                       activity     of suspicious
                                 date   or date range activity   forreport.
                                                          for this    this report”
                                                                               If the(Item    27) – Enter
                                                                                       suspicious    activity
        the  suspicious      activity  date  or date  range    for this  report.
      occurred on a single day, enter that date in field 27a “From” and leave fieldIf the  suspicious
        activity
      27b   “To”occurred
                     blank. Ifon thea single  day, activity
                                      suspicious    enter that    date in field
                                                                occurred          27a "From"
                                                                            on multiple     days,and  leave
                                                                                                    enter
        field
      the     27b "To"
            earliest    dateblank.   If the suspicious
                              of suspicious    activity inactivity   occurred
                                                              field 27a   and theonmost
                                                                                      multiple   days,
                                                                                            recent   date of
        enter   the  earliest  date   of suspicious    activity   in field  27a  and
      suspicious activity in field 27b. If the exact date(s) of the suspicious activitythe most   recent
      isdate
          (are)ofunknown,
                   suspiciousenter
                                 activity  in field
                                        a date  range27b.
                                                        thatIf the
                                                               the filer
                                                                    exactbelieves
                                                                           date(s) of   theencompass
                                                                                     will    suspiciousthe
        activityofisthe
      date(s)          (are)  unknown,
                           suspicious      enter a date range that the filer believes will
                                         activity.
        encompass the date(s) of the suspicious activity.
   • What is the suspicious activity? (Items 29-40) – Select all options that apply to
    • the
        Whattype is of
                    thesuspicious
                          suspicious  activity  being
                                        activity?       reported.
                                                   (Items    29-40) –IfSelect
                                                                         a category     applies
                                                                                all options      but
                                                                                               that   none of
                                                                                                    apply
      the   options
        to the   type apply,     check the
                         of suspicious       “Other”
                                         activity  being box   in that category
                                                           reported.                and applies
                                                                         If a category    briefly describe
                                                                                                    but
      the   type    of  suspicious    activity  in the  associated     text  field.
        none of the options apply, check the “Other” box in that category and briefly
        describe the type of suspicious activity in the associated text field.

        For example, if a financial institution needs to file a FinCEN SAR on check
        kiting, they would check the “Other” box in Item 31 (Fraud) and type the
        word “Kiting” in the associated text field. For kiting associated with the use


SAR Activity Review — Trends, Tips & Issues (Issue 22)                                                 36
                                                                                                       33
        Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 40 of 66
Financial Crimes Enforcement Network


       For example, if a financial institution needs to file a FinCEN SAR on kiting, they
       would check the “Other” box in Item 31 (Fraud) and type the word “Kiting” in
       the associated text field. For kiting associated with the use of checks, a financial
     ofinstitution also would
        checks, a financial    select the
                            institution   “Check”
                                        also wouldbox   in Item
                                                    select       31 (Fraud).
                                                           the “Check”   box in Item 31
     (Fraud).




Inquiries related to Step 5 (Narrative)
Inquiries related to Step 5 (Narrative)
  • What is required when describing the suspicious activity identified? The
     narrative is critical to understanding the suspicious activity being reported.
• What is required when describing the suspicious activity identified? The
     How the narrative is written may determine whether the suspicious activity
   narrative is critical to understanding the suspicious activity being reported.
     is clearly understood by investigators. Filers must complete the narrative in
   How the narrative is written may determine whether the suspicious activity
     English and provide a clear, complete, and concise description of the suspicious
   isactivity.
      clearly understood    by investigators.
                This narrative   should includeFilers
                                                  the must  complete the
                                                       data provided      narrative
                                                                      in the  FinCEN inSAR
   English
     and any and  provide
               other       a clear, complete,
                      information    necessaryand   concisethe
                                               to explain   description  of the
                                                                suspicious  activity. To
   suspicious
     assist, readers will find a separate article in the Issues & Guidancein
                activity. This  narrative  should  include the  data provided     the of
                                                                                section
   FinCEN     SAR
     this issue    and
                 that   any other
                      provides      information
                                 further        necessary
                                          guidance          to explainathe
                                                     on constructing    SARsuspicious
                                                                              narrative.
   activity. To assist, readers will find a separate article in the Issues &
   Guidance
Useful    Linkssection of this issue that
                  for completing        theprovides  further guidance
                                             new FinCEN       SAR on constructing
   a SAR narrative.
  • Filing FinCEN’s new Currency Transaction Report and Suspicious Activity
     Report
Useful  Links(FIN-2012-G002)
               for completing the - http://www.fincen.gov/statutes_regs/guidance/html/
                                       new FinCEN SAR
     FIN-2012-G002.html
•    Filing FinCEN's new Currency Transaction Report and Suspicious Activity
     Report (FIN-2012-G002) -
     http://www.fincen.gov/statutes_regs/guidance/html/FIN-2012-G002.html
    34                         SAR Activity Review — Trends, Tips & Issues (Issue 22)


                                                                                    37
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 41 of 66
                                                        Financial Crimes Enforcement Network


   • FinCEN Suspicious Activity Report (FinCEN SAR) Electronic
     Filing Requirements - http://bsaefiling.fincen.treas.gov/news/
     FinCENSARElectronicFilingRequirements.pdf


   Suspicious Activity Report (SAR):
   Back to the Basics
   By FinCEN’s Office of Outreach Resources


 SAR Basics
 FinCEN is issuing a reminder to filing financial institutions of the importance of an
 accurate and complete Suspicious Activity Report. The SAR serves as a valuable
 investigative tool by providing information regarding previously unidentified
 accounts, potential illicit movement of monies and terrorist financing, and general
 lead information for financial crimes investigations. Filers and users of SARs are
 reminded that SARs are confidential. Similarly, information that would reveal the
 existence or non-existence of a SAR is confidential.

 SAR Preparation
 FinCEN, in consultation with other relevant federal regulatory authorities, has issued
 a guidance package12 designed to assist financial institutions in the preparation of
 SARs and to improve the quality of information provided in SAR narratives.

 SAR Narrative
 The SAR Narrative remains a critical component of a SAR filing. However, with the
 flexibility of the suspicious activity section it was determined that fewer characters
 were necessary in the narrative section of the new SAR. Thus, the number of
 narrative characters has been limited to 17,000 characters (as compared to between
 approximately 39,000 and 49,000 characters in the legacy forms – depending on the
 SAR type). However, the narrative section allows filers to include an attachment
 that the financial institution believes would be useful to law enforcement.




 12. http://www.fincen.gov/statutes_regs/guidance/html/FIN-2012-G002.html




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                 35
        Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 42 of 66
Financial Crimes Enforcement Network


Spreadsheet Attachments
The new SAR will accept a single, 1MB limited, comma separated value (CSV)
attachment as part of the report. The CSV is a standard Microsoft file format that
aids in reporting tabular data into a file format. This capability allows an institution
to include data (such as specific financial transactions and funds transfers or other
analytics), which is more readable and usable in this format than it would be if
otherwise included in the narrative. Such an attachment will be considered a part of
the narrative and is not considered to be a substitute for the narrative. As with other
information that may be prepared in connection with the filing of a SAR, it can also
be considered supporting documentation when not attached to the SAR and should
be accorded confidentiality to the extent that it indicates the existence of a SAR.

Characterizations of Suspicious Activity
The new SAR is designed to accommodate the different types of industries that
will file these reports. As such, the new SAR contains certain sections of suspicious
activity characterizations which will generally be most relevant to a specific
industry. When the filing institution’s industry is selected in the discrete version of
the report, other industries will be shaded out to signify a non-applicable status.13

In addition, the FinCEN’s new SAR includes a number of additional data elements
pertaining to the type of suspicious activity and the financial services involved. The
decision to include these additional data elements in the FinCEN SAR arose from
extensive discussions with law enforcement officials. It was determined that the
inclusion of such elements would facilitate more effective use of the information
collected in the reports. FinCEN acknowledges that the expansion of these
characterizations may create the need for clarification on how to select among the
choices provided to depict the activity, as well as how to describe this information in
Part V, the narrative.




13. As an example, if the filer is a broker-dealer, then insurance and casino selections may be grayed
    out; if the filer is a depository institution, then casino and the broker-dealer selections are grayed
    out. The full implementation of this capability is still being developed. Filers may choose to
    enable and use these fields, as necessary, for example, in reporting activity that involves affiliated
    institutions across industry sectors. Institutions that batch file their reports may not have this
    feature, based on software design.




  36                                  SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 43 of 66
                                                             Financial Crimes Enforcement Network


 Critical Fields
 Certain fields in the new SAR are marked as “critical” for technical filing purposes;
 for discrete filers, the BSA E-Filing System will not accept filings in which these
 fields are left blank.14 For these items, the filing institution must either provide
 the requested information or affirmatively check the “unknown” (Unk.) box if
 that box is provided for in a critical field. This unknown box will supersede
 FinCEN’s previous guidance requesting that filers input ”NOT APPLICABLE,”
 “UNKNOWN,” “NONE,” or “XX” in certain fields. For those fields that are not
 marked as “critical” for technical filing purposes, the BSA E-Filing System will
 accept reports in which these fields have been left blank. FinCEN expects that
 financial institutions will provide the most complete filing information available
 within each report consistent with existing regulatory expectations regardless of
 whether or not the individual fields are deemed critical for technical filing purposes
 (i.e., filers must either select the “unknown” box or input the correct information on
 the report even if the field is not considered a critical field.)

 Gender Field
 FinCEN has been asked for guidance on the “Gender” Field (Item 4 of Part I: Subject
 Information). Based on feedback from law enforcement officials, information related
 to the gender of the subject could be an important characteristic for query purposes.
 However, FinCEN has not designated the “Gender” field as mandatory.

 NAICS Code
 FinCEN has also been asked for guidance on the use of the North American Industry
 Classification System (NAICS) code field (Item 7a). Law enforcement officials have
 indicated that the NAICS code is beneficial in SAR data. Note: financial institutions
 are not required to become familiar with NAICS codes, as the appropriate list of
 codes is contained in a drop down menu that automatically populates the field. In
 addition, use of a NAICS code is not mandatory, and a financial institution may still
 provide a text response with respect to this information.




 14. Batch filers will be notified via the acknowledgement process that critical field errors were made
     and should be corrected.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                               37
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 44 of 66
Financial Crimes Enforcement Network


Fields Related to Internet Presence
The FinCEN SAR includes certain new elements related to the internet presence
of subjects and suspicious activity, specifically the “E-mail address” and “Website
(URL) address” fields within Part I: Subject Information and “IP address (if
available),” in Part II: Suspicious Activity Information. These are items which many
filers have previously included in the narratives of the legacy SARs in the context of
describing suspicious activity. For example, to show that suspected criminal activity
was being conducted from a specific internet site location. By providing a discrete
space into which such information may additionally be entered, the new reports
will facilitate FinCEN’s and law enforcement’s ability to make connections between
elements reported across separate filings and external data sources. In doing
so, FinCEN does not intend to create any obligation or expectation that financial
institutions would collect this information as a matter of course. The narrative
section of the report may be used to provide more information as to how an internet
presence relates to the suspicious activity or to provide any other relevant email or
IP addresses that may pertain to non-subjects.15



  Writing Effective SAR Narratives
  By FinCEN’s Office of Outreach Resources

When preparing a Suspicious Activity Report (SAR), filers complete fields on the
SAR that contain information about the subject(s) of the filing, such as their name and
address, and the activity being reported, such as the characterization of the suspicious
activity. They also report other information such as when the activity occurred, the
dollar amount involved, and other information that help users of the data identify the
filer, and identify, investigate or analyze the activity being reported. The narrative is
a critical part of the SAR because it is the where the filer can summarize and provide a
more detailed description of the activity being reported. For that reason, it is essential
that the narrative be clear, complete and thorough.

In this article we include examples of SARs reporting more routine activity that a filer
might identify – potentially unregistered MSB customers and counterfeit checks. We
explain why a particular example is more or less effective as a SAR narrative.



15. http://www.fincen.gov/statutes_regs/guidance/pdf/FIN-2012-G002.pdf




  38                              SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 45 of 66
                                                   Financial Crimes Enforcement Network


 The Importance of the SAR Narrative
 As noted in the article Suspicious Activity Report: Back to the Basics, the size of the
 narrative field has been reduced in the FinCEN SAR. Other sections of the FinCEN
 SAR have been expanded to allow for filers to provide additional information
 in those parts of the report, such as additional check boxes to characterize the
 suspicious activity being reported. Even though, as noted, the narrative remains
 a critical part of the FinCEN SAR, filers should consider the reduced size of the
 narrative section, and the expanded fields in other parts of the form, and utilize
 the narrative in such a manner as to maximize the value of the information being
 provided in that section.

 When writing a narrative, filers should aim to expand upon the information
 provided in the other parts of the FinCEN SAR and provide any additional
 information needed to address five essential elements of information – who? what?
 when? where? and why? – about the suspicious activity being reported:

 Who is conducting the suspicious activity?
 Part I of the SAR instructs the filer to provide specific information about the
 subject(s) of the filing. In the SAR narrative, the filer can further describe the
 suspect(s), such as occupational information, including position or title, and the
 nature of the suspect’s business. The SAR narrative should also include any
 known relationships among subjects reported on the SAR or businesses identified
 in the narrative. While detailed subject information may not always be available
 (i.e., situations involving non-account holders), filers should include as much
 information as is known to them about the subject(s).

 What instruments, methods or mechanisms are being used to
 facilitate the suspect transaction(s)?
 An effective SAR narrative describes how the subject(s) conducted the illicit activity,
 including what instruments, methods or mechanisms were used. For example,
 whether shell companies were suspected as being either the sender or beneficiary
 of a wire transfer, or whether the subject(s) used the Internet or Remote Deposit
 Capture to initiate the activity.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                               39
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 46 of 66
Financial Crimes Enforcement Network


When did the suspicious activity take place?
If the activity takes place over a period of time, indicate when the suspicious activity
first occurred and the history of the suspected illicit activity. To better understand
the history and nature of the activity, and the flow of funds, filers should provide
information on each individual transaction (i.e., dates and amounts.) The ability to
include attachments in the new FinCEN SAR can help filers in providing this data is
a more user friendly format than allowed for in the legacy SAR.

Where did the suspicious activity take place?
Filers should indicate any offices or branches of their financial institution that the
suspicious activity occurred at or through, and provide the addresses of those
locations. Filers should also specify whether the activity involved a foreign
jurisdiction, such as funds wired overseas, and the foreign jurisdiction and/or
financial institution involved, as well as any account numbers associated with the
subject of the suspect transaction(s).

Why does the filer think the activity is suspicious?
In answering this question, a filer should describe why the transaction is unusual for
the customer or why the activity created a red flag for the filer or triggered an alert
within their system. These answers will vary based on the filer’s institution type (for
example, a depository institution vs. an insurance company) and so a filer should
also consider the types of products and services they offer, what they know about
the type of accounts the customer has with the institution and the normally expected
business activity of the customer (if they are a customer of the filer), and why this is
not normal or expected activity.




  40                           SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 47 of 66
                                                  Financial Crimes Enforcement Network


 Reporting Potentially Unregistered MSBs
 More effective SAR narrative:

   A review of activity in an account for Stop In, Inc. indicates a possible
   unregistered or unlicensed money services business. This review was
   conducted based on a report indicating unusual or potentially suspicious
   activity based on the customer profile. Stop In, Inc. has been a bank customer
   since 5/21/2011. Business checking account number 580214566 was reviewed
   for this case. The account was opened at the Lake Road branch on 5/21/2011.
   Samuel Jones is an authorized signer on this account. Transaction activity
   from 5/21/2011 to 8/13/2011 was reviewed and revealed 49 deposits totaling
   $87,856.40. The deposits included 23 third party checks. Deposits also
   included nine personal checks for more than $1,000. Two third party checks
   have been returned for $1,785 and $2,205. Cash made up 15% of all dollars
   deposited and almost 68% of all dollars withdrawn from the account during
   the period of this review. No wire transfers were detected. Account activity
   does not show the expected business expenditures for utilities and rent.
   Research via the internet and through commercial database sources revealed
   no additional pertinent information about the customer. Bank records revealed
   Stop In, Inc. doing business as a convenience store, Stop-In Food Mart, at Rt.
   1 and Lake Road. Per bank records, Stop In, Inc.’s taxpayer identification
   number is XX-XXXXXXX. Bank records also revealed that neither Stop In, Inc.
   nor Stop-In Food Mart is registered with FinCEN as a money services business.
   They are licensed by the state of Virginia to cash checks. The business account
   was closed for failing to indicate it was operating as an MSB, a violation of
   bank account opening policy. Supporting documentation is available upon
   request. For assistance, contact the AML/Fraud Unit at 888-999-7777, or
   amlfraud@xbank.com. Please reference AML Case 2011-XXX.


 Why this SAR narrative is more effective:
 This SAR narrative explains why the filer believed the customer was an unregistered
 check casher by the type of activity occurring in the account (deposits of third party
 checks and checks over $1,000, and large cash withdrawals). The filer describes
 when the activity occurred and the transaction amounts involved. The filer also
 provides details about the customer, including its legal name and the name under
 which it conducts business, the businesses address, type of business, the date the




SAR Activity Review — Trends, Tips & Issues (Issue 22)                            41
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 48 of 66
Financial Crimes Enforcement Network


account was opened, the account number and its licensing and registration status at
the time of this filing. The filer also identifies at which branch the customer banked,
who should be contacted at the bank for supporting documentation, and how to
reference the case.

Less effective SAR narrative:


 First Federal Bank is filing this SAR in connection with possible suspicious
 payments to ABC Corporation originating from XYZ LLC. This review of the
 transactions that led to the filing of this SAR was prompted by an alert from
 the bank’s payment monitoring system for Century Bank concerning transfers
 on behalf of its client XYZ LLC. Century Bank is a correspondent-banking client
 of First Federal. First Federal records reveal that from June 29, 2011 to August
 1, 2011, 4 payments totaling $13,675.21 were transmitted to ABC Corporation
 at Century Bank. ABC Corporation is being used to repatriate funds to
 Venezuela. As of March 2, 2012, ABC Corporation does not appear on FinCEN’s
 MSB registration list.


Why this SAR narrative is less effective:
This SAR reported the subject as a potential dealer in foreign exchange, and
indicates that the subject is being used to repatriate funds to Venezuela, but it does
not describe how this is occurring or what led the filer to suspect it was occurring.
What in the filer’s monitoring system drew their attention to the payments sent
to the subject by XYC LLC – were they not expected business transactions, or not
from an expected source of funds? What did ABC Corporation do with the funds
once they were received? What was it about these payments that led to the filer to
suspect it was being used to repatriate funds to Venezuela? More detail will help
users of the data better understand the nature of the suspected illicit activity and
how it is occurring, and can help identify additional potential suspects or links to
other illicit activity.




  42                            SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 49 of 66
                                                Financial Crimes Enforcement Network


 Reporting Counterfeit Check Activity
 More effective SAR narrative:


   On June 22, 2010, East Valley Bank, a subsidiary of Mountain Bank, referred
   this counterfeit check activity to the Mountain Bank Compliance Department
   involving an account held in the name of Daniel Alan Parker, account number
   20808156. Account number 20808156 was opened on May 14, 2010 with an
   initial deposit of $500. On June 5, 2010, Mr. Parker deposited a check in
   the amount of $295,650.20, payable to Daniel Parker, Dallas, TX, from Texas
   Title, Inc. Escrow Account as maker, drawn on Central Bank (“Central”),
   routing and transit number 99990008, account number 6786812882. Mr. Parker
   requested and received $8,500 in cash from the deposit. On June 14, 2010
   a bank employee responsible for reviewing large transactions suggested that
   the teller request the return of the $8,500 cash given to Mr. Parker until the
   check was paid by Central. Mr. Parker stated that he would be “more than
   happy” to return the funds but could not return to the bank until possibly June
   17. In the meantime, the teller contacted Central Bank to verify the check
   and was told that the funds were available at that time. On June 22, Central
   Bank notified East Valley Bank that the check was fraudulent. The teller again
   contacted Mr. Parker and requested the return of funds provided to him from
   the deposit. Mr. Parker stated that he had become uncomfortable about the
   validity of the check after speaking to the teller and that he had contacted
   Central Bank. He believed his call to Central prompted them to notify East
   Valley of the fraudulent item. The teller again asked Mr. Parker to return the
   funds. Contrary to his earlier agreement, Mr. Parker informed the teller that
   he could not return the funds as he had already used the funds to pay medical
   bills. Mr. Parker assured the teller that he was expecting a wire transfer
   that would be in excess of the amount of the counterfeit check. As of July
   29, 2010, no such wire transfer has been received and the account remains
   overdrawn. It appears as through Texas Title, Inc or an individual purporting
   to represent such company, counterfeited such check in an attempt to defraud
   Mr. Parker and/or East Valley Bank. It also appears as though Mr. Parker made
   false statements to bank employees regarding the existence of an anticipated
   wire transfer in an attempt to defraud the bank. East Valley anticipates a loss
   in the amount of $7,300, the negative balance of Mr. Parker’s account. SAR
   supporting documentation retained includes internal correspondence, copy of
   the counterfeit check and account statements.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                          43
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 50 of 66
Financial Crimes Enforcement Network


Why this SAR narrative is more effective:
This narrative describes how the subject opened the account on May 14 with a
small deposit followed very shortly by a large deposit that led to the subsequent
suspicious activity. The filer explains the source of the funds and how they came to
learn that the check was fraudulent. They also explain in detail their exchanges with
the subject and the subject’s actions that led them to believe that he might be a party
to the suspicious activity.

Less effective SAR narrative:

 The purpose of this SAR is to report a counterfeit check payable to Mark
 Evans for $14,620 was deposited into the sole account of Mary Louise Evans,
 Charter State Bank account number 65697142, on 4/5/11. The check was
 drawn on the National Bank account of Dynamic Tech, Inc. The maker of
 the check is Elizabeth Thomas. Mark Evans endorsed the check over to Mary
 Louise Evans. A hold was placed on the funds. On 4/13/11 the check was
 returned unpaid as unable to locate. National Bank confirmed the check is
 counterfeit. Mark Evans stated he received the check via FedEx from Alex
 Jones as payment for a vehicle he had listed for sale on Craigslist. No loss
 was sustained due to the hold.

Why this SAR narrative is less effective:
This SAR listed only the account holder, Mary Louise Evans, as the subject;
however, the narrative does not describe the account holder’s role in the activity
being reported – other than being the recipient of the endorsed check. As described
in this narrative, Mark Evans, Elizabeth Thomas and/or Alex Jones would seem to
be subjects in this reported activity and the bank should have considered listing
them as subjects as well, with as much information as is known on those subjects.
This narrative also does not explain the connection between the check being drawn
on Dynamic Tech and the sale of a vehicle through an Internet site and why this is
relevant.

Use of key terms
Using clear, concise terms assists users of FinCEN data in identifying the suspicious
activity being described in the SAR narrative. Certain FinCEN Advisories have
recommended the use of key terms to identify particular activities, such as use
of the term “tax refund fraud” described in FinCEN Advisory–FIN-2012-A005,




  44                            SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 51 of 66
                                                  Financial Crimes Enforcement Network


 Tax Refund Fraud and Related Identity Theft. The use of short, concise phrases,
 such as “unregistered MSB” or “unlicensed check casher,” is also helpful in more
 quickly identifying activity being reported. Additional information on key terms is
 available at http://www.fincen.gov/news_room/advisory/AdvisoryKeyTerms.html.

 Use of attachments
 Filers using the legacy SAR forms cannot include attachments when filing a SAR.
 The new FinCEN SAR will allow filers to include a single, comma separated value
 (CSV) attachment with their SAR filing. This attachment would be part of the
 narrative, but not a substitute for the narrative. The attachment functionality will
 allow filers to include data, such as a list of counterfeit checks, in a more readable
 and usable format. The file can also be considered supporting documentation when
 not attached to the SAR.

 For additional information on the new SAR, see the articles “SAR Activity Review:
 Back to the Basics” and “Analysis of Suspicious Activity Report (SAR) Inquiries
 Received by FinCEN’s Regulatory Helpline” included in this issue. Additional
 information on the new SAR and the new CTR can also be found on FinCEN’s
 website at http://www.fincen.gov/whatsnew/html/20120329.html.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                             45
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 52 of 66
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 53 of 66
                                                         Financial Crimes Enforcement Network




Industry Forum

  In each issue of The SAR Activity Review, representatives from the financial
  services industry offer insights into an aspect of compliance management or
  fraud prevention. In this issue, we get an industry perspective on the AML risks
  presented by Business Funded Prepaid Cards. The Industry Forum section provides
  an opportunity for the industry to share its views. The information provided may
  not represent the official position of the U.S. Government.


    Taking a Second Look at AML Risks from
    Business Funded Prepaid Cards: It’s a Whole
    New Ball Game
    By Judith Rinearson, Bryan Cave LLP
    Regulatory Counsel, Network Branded Prepaid Card Association
    (NBPCA)16


  Introduction
  Prepaid cards are generally considered a higher risk payment product (as compared
  to credit and debit cards) and the recent Prepaid Access regulations issued by
  FinCEN do a solid job at addressing those risks. But an important subset of prepaid
  card products were not discussed and perhaps not even contemplated when the
  Prepaid Access regulations were developed: prepaid cards purchased, issued or
  loaded solely by businesses (“Business Funded Cards”). These cards represent a
  very different set of risk and compliance issues – and deserve a fresh look. (Yes,
  it’s a “whole new ball game.”) This article discusses the range of business funded
  prepaid card products, the risks arising from such products, how such products are
  currently addressed under the Prepaid Access regulations, and suggests some best
  practices for issuing banks, providers and sellers of such products.


  16. Judith wishes to thank Kristine M. Andreassen of Bryan Cave’s Washington, D.C. office for her
      assistance in preparing this article. Although Judith serves as Chair of the NBPCA Government
      Relations Working Group and as the NBPCA representative on BSAAG, the views and opinions set
      forth in this article are her own and should not be attributed to the NBPCA or its members.



 SAR Activity Review — Trends, Tips & Issues (Issue 22)                                       47
        Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 54 of 66
Financial Crimes Enforcement Network


What are Business Funded Cards?
The term “Business Funded Cards” encompasses a broad range of prepaid card
programs that are funded solely by corporations, financial institutions, employers,
and other business entities of all kinds to make payments. These payments were
traditionally made in the form of checks (or paper gift certificates), which is
expensive for the business and, in many cases, inconvenient for the recipient.

Business Funded Cards can include both “closed loop” cards issued by retailers17
(for example, when a business purchases 100 gift cards from a local restaurant to
give to employees or customers during the holidays) as well as “open loop” cards
issued by banks and financial institutions18 (for example, when employees are issued
payroll cards to receive their wages).

Below are examples of some of the different types of Business Funded Card
programs that exist today. Please note that not all of these Business Funded Card
programs are “reloadable.” Certain incentive payments, gifting programs, wellness
payments, bonuses, insurance claim payments and disaster relief payments are
often one-time payments that do not involve reloading by either the business or the
recipient.

  1. Business Funded Cards in which the funds are “owned” by the recipient to
     whom the card is issued. Certain prepaid cards replace checks that are paid
     from a business to an individual, for funds that are owed by the business to,
     and belong to, the recipient. Examples where funds on a prepaid card are
     ultimately owed to, and owned by, an individual include:

       a. Benefits, incentives, wages, salaries, commissions or bonuses paid to
          employees, vendors, distribution channel partners, or independent
          contractors.

       b. FSA, HSA and HRA arrangements, and employee wellness programs.

       c. Per diem allowances for employees’ travel expenses (where any amount
          under the daily allowance is kept by the employee).

17. The term “closed loop” card generally refers to prepaid cards that are issued for limited purposes
    and can only be used at a single retailer or retail chain, or at a single website to make purchases,
    and cannot be used to access cash. Retailer-issued gift cards, such as Home Depot cards or
    Starbucks cards, are typical closed loop prepaid cards.
18. The term “open loop” card generally refers to prepaid cards that are issued by a bank or financial
    institution, display a payment network brand on the front (Visa, MasterCard, American Express or
    Discover) and can be used widely to make purchases where that brand is accepted and/or to obtain
    cash at ATMs.



  48                                 SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 55 of 66
                                                    Financial Crimes Enforcement Network


      d. Reimbursements to employees, vendors or contractors who have incurred
         business expenses.

      e. Disbursement of insurance claims paid to individuals.

      f. Disaster relief payments to individuals.

   2. Business Funded Cards in which the funds are still “owned” by the business
      and do not belong to the recipient to whom the card is issued. Examples where
      funds on prepaid cards generally belong to the business include:

      a. Cards given to a company’s employees to use for future business expenses.
         This may be an alternative to issuing company credit cards to employees, or
         having employees pay expenses themselves and submit for reimbursement.
         Examples include purchasing cards or travel expense cards.

      b. Cards given to a company’s independent contractors to use for future
         business expenses. Example: Purchasing Cards used to obtain building
         materials by a general contractor making repairs at the company’s office.

      c. Cards given to a company’s vendors (businesses) for accounts payable
         payments or reimbursements. For example, trucking companies often
         provide cards to drivers for fuel and repairs. The card may be embossed with
         the company’s name instead of the driver’s name and the company funding
         the card may not know which individual(s) will ultimately use the card.

   3. Business Funded Cards in which the funds are granted by the business to a
      customer temporarily as an incentive, reward or promotional item, but are
      not “owned” by the customer and may revert back to the business if they are
      not used under the terms of the promotional, reward or incentive program.
      Examples where funds do not represent an obligation owed to an individual,
      but the ability to use the card often for a limited period (versus ownership of
      funds) include:

      a. Marketing reward or loyalty programs. These include gift cards issued by
         retailers based on previous shopping or accrued loyalty points.

      b. Promotions, giveaways and rebates. These include “gift with purchases”
         or gift cards used to promote the purchase of a manufacturer’s product or a
         specific travel destination.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                             49
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 56 of 66
Financial Crimes Enforcement Network


It is important to note that this discussion of Business Funded Cards addresses
only cards that are funded solely by the business. Some prepaid cards combine
two attributes – they are both business funded and consumer funded. For example,
there are payroll cards that are “portable.” In addition to receiving the employee’s
payroll or wages from the employer, the employee has the option of loading his or
her own funds onto the payroll card, and can keep and continue to use the payroll
card even when moving to a new employer. Such cards pose different risks and are
not intended to be included within the scope of this article.

What Risks Arise from Business Funded Cards?
There are many factors that go into a risk assessment of Business Funded Cards.
However, taken as a whole, this group of prepaid payment products tends to pose
less risks than consumer funded cards for one critical reason: the source of funds
is known. This is particularly true for open loop cards which are issued by banks
or similar financial institutions and which are acquired or purchased by publicly
traded corporations.19

One factor that makes Business Funded Cards so different from consumer funded
cards is that, with Business Funded Cards, it is actually more important to know
your business customer than it is to know the ultimate cardholder. It is the business,
not the cardholder, that is the source of funds, and any misuse of Business Funded
Cards primarily derives from false business fronts, shell corporations, and other
criminal efforts to disguise the business ownership, purpose and/or source of funds.
For these customers, the biggest risk arises from the failure to adequately identify
and verify, and collect other information about, the business itself.

Banks that are familiar with Business Funded Card programs understand the
importance of knowing their business customers that purchase prepaid cards. Under
standard bank procedures, a business that wishes to obtain and load prepaid cards for
its employees, customers or business partners becomes the direct customer of that bank.
The business (including its source of funds) is vetted by the bank both initially and
on an ongoing basis. Both Customer Identification Program (CIP) and Customer Due
Diligence (CDD) procedures are performed on the business, often including the review
of publicly available information, financial statements, references, and information about
the business’ owners and/or management, as well as understanding the purpose for the
business’ acquisition of open loop prepaid cards and the expected usage of such cards.

19. Although open loop prepaid cards can be issued by a range of regulated financial institutions,
    including banks, savings associations, credit unions, and some licensed money transmitters, for
    purposes of this article, we will refer to these all as “banks.”



  50                                SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 57 of 66
                                                             Financial Crimes Enforcement Network


 Closely tied to the CIP/CDD process, banks that issue and distribute Business
 Funded Cards also perform back-end monitoring of transactions. This is a critical
 part of a bank’s AML program. For example, Business Funded Cards that are
 distributed to cruise line passengers as part of their travel package would be
 expected to be used in the Caribbean; Business Funded Cards issued for expense
 reimbursement purposes to construction workers in Des Moines would not.

 Other factors that determine the level of risk posed by a Business Funded Card
 program are (i) whether the cards can be used to access cash; and (ii) whether the
 cards are reloadable. In many cases, especially in reward and promotional programs,
 Business Funded Cards are not reloadable nor can they be used to access cash. Such
 cards do not have many of the functionalities of general purpose reloadable (GPR)
 prepaid cards and certainly do not function like bank account substitutes.

 Can Business Funded Cards be misused? Of course they can. As noted above,
 there are some examples of the misuse of Business Funded Cards – but these cases
 generally involve the failure to perform solid CIP and due diligence on the business
 involved – not the individual cardholder. Some examples of misuse of Business
 Funded Cards include:

   • A Black Market Peso Exchange operation involving a crooked program
     manager who set up payroll card programs for fake companies.20 $39 million
     was withdrawn from these fake payroll cards at a single ATM in Colombia
     from 2006 to mid-2007.

   • A company layered funds for clients (criminal enterprises) and transferred
     those funds overseas. All clients had prepaid cards onto which funds could
     be delivered (some had 1 card, others had 50 or 100 cards). Cards from three
     different crooked program managers were involved.

   • A Black Market Peso Exchange operation involving a “multi-level marketing
     scheme” through which customers could purchase prepaid cards to buy
     electronics and other items at affiliated retail stores.21




 20. Some of these examples also demonstrate the importance of banks performing thorough due
     diligence on its third party service providers. This crucial issue has been well documented. See, for
     example, OCC Bulletin 2001-47; FFIEC Interagency Statement on Risk Management of Outsourced
     Technology Services; OTS Thrift Bulletin 82a; FDIC FIL-44-2008; and BSA Exam manual.
 21. See http://www.justice.gov/dea/pubs/states/newsrel/2009/nyc102309.html.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                               51
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 58 of 66
Financial Crimes Enforcement Network


 • A cleaning company allegedly put job applicants on its payroll without their
   knowledge. Payroll cards and PINs for these “ghost” employees were sent
   directly to the cleaning company.22

These above examples demonstrate the importance of performing careful and
effective customer identification and due diligence for business customers loading
or purchasing Business Funded Cards.

What Do the Prepaid Access Regulations Require for Business
Funded Cards?
The Prepaid Access regulations require providers and sellers of prepaid access,
as part of their AML programs, to “establish procedures to verify the identity of a
person who obtains prepaid access under a prepaid program and obtain identifying
information concerning such a person, including name, date of birth, address, and
identification number.”23 The use of the term “obtains” is a little unclear, because
it could apply to the purchaser as well as to the ultimate end-user of a Business
Funded Card. Perhaps this is an area where further clarification can be provided,
because in many instances the end-user is not the customer of the issuing bank,
nor is he or she a “customer” of the provider or seller of the prepaid access in any
traditional sense.

In the preamble to the Prepaid Access regulations, FinCEN states the following
regarding the identification and verification requirements:

   This regulation adds a customer information recordkeeping requirement
   (including name, address, date of birth, and identification number) for the
   provider and seller of prepaid access.

                                                 *****

   FinCEN believes that obtaining and retaining (or retaining access to) such
   customer information is necessary for greater financial transparency concerning
   the purchasers of prepaid access.

                                                 *****




22. See http://www.ice.gov/doclib/aml/pdf/2009/murray.pdf at 12-14.
23. 31 CFR 1022.210(d)(1)(iv), emphasis added.




  52                               SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 59 of 66
                                                            Financial Crimes Enforcement Network


     These requirements are intended to mirror the customer identification programs
     required of other financial institutions and draws on the explanations and
     interpretations issued with respect to those requirements.

                                                  *****

     Providers and sellers of prepaid access are reminded that the AML programs
     they develop pursuant to this rule should be appropriate for their prepaid
     operations.24

 For Business Funded Cards, it is the business, not an individual, that is the source
 of funds and that purchases the prepaid access. That is why the question must
 be asked: “Who is the person that has ‘obtained’ the prepaid access when the
 product is a Business Funded Card?” Using a risk-based approach, collecting and
 verifying the cardholder’s personal information on a blanket basis many not be
 appropriate for all cardholders with Business Funded Cards – especially when the
 business-funded cards cannot be reloaded or do not access cash. In this regard, it
 should be noted that in a traditional bank account opened for a business, the bank’s
 CIP obligation clearly relates to the business and not to the business’ individual
 customers or employees who may receive checks from that business.25 Moreover, in
 most instances, the risk of abuse of Business Funded Cards for money laundering
 and terrorist financing purposes lies predominantly with the business that is
 funding the cards, not the individual who may ultimately spend those funds. If
 a provider’s AML program is to be “appropriate” for its operations, then it is
 certainly crucial that identification/verification should be performed on the business
 obtaining the prepaid access.

 What Are Some Recommendations for Banks, Provides and Sellers
 involved with Business Funded Card programs?
 Business Funded Cards do pose some risks and best practices dictate that certain
 procedures should be followed by banks, providers and sellers that wish to issue,
 promote and distribute Business Funded Card products. Here are some suggestions:

   • Thorough due diligence must be performed on the business that is the source
     of funds. Depending on the business and the product(s) involved, this might
     involve checking Secretary of State incorporation/formation records, reviewing



 24. 76 Fed. Reg. 45404, 45413 (July 29, 2011), emphasis added.
 25. See 31 CFR 1010.220.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                                     53
       Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 60 of 66
Financial Crimes Enforcement Network


      public filings with the Securities and Exchange Commission or other sources,
      obtaining references or running credit and/or background checks. The larger
      the purchase, the more closely the business should be scrutinized.

 • For Business Funded Cards issued through an employer, collection of the
   individual cardholder’s (i.e., employee’s) identifying information and identity
   verification is done by the employer, via the I-9 process. Issuing banks or
   providers that rely on the employer’s I-9 processes should perform due
   diligence not simply on the identification and verification of the employer, but
   also on the employer’s internal procedures in order to ensure that the employer
   follows a effective I-9 process, retains the records, and can provide access
   to the bank or provider upon request. Adherence to these procedures must
   also be audited from time to time. For example, some issuers or providers do
   annual “spot checks” by requesting the employers provide I-9 files for a small
   sampling of payroll cardholders to ensure that such files are complete and
   available. By not requiring all data to be transferred to the issuing bank and/or
   provider, the risk of data security and privacy breaches may also be reduced.

 • For sales incentives and similar programs, collection of identifying information
   and identity verification is done on the sales reps by the company that employs
   the sales reps. The program sponsor (e.g., a manufacturer) would have
   performed its own due diligence on the company that employs the sales reps
   and the card issuer would have access to the program sponsor’s data on an as
   needed basis. Again, as a best practice, issuing banks and providers should
   include in its due diligence process a review of the kinds of data the program
   sponsor itself collects and verifies, and ensure that the bank/provider has access
   to the data if needed.

 • For certain Business Funded Card programs where cards are delivered to
   specific customers as part of loyalty or promotional programs, some identifying
   information is generally collected from the customer via a participation or
   enrollment form. For example, when a telecommunications company offers a
   rebate to customers for purchasing a particular mobile phone, the customer will
   have to meet certain eligibility criteria and have an account with the telecom
   company. During that account opening process, identifying information is
   collected about the customer, and some form of verification may be performed
   as well. These cards also pose significantly lower risks because they are
   generally lower value disposable cards that cannot be reloaded, cannot access
   cash and cannot be used internationally.




 54                           SAR Activity Review — Trends, Tips & Issues (Issue 22)
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 61 of 66
                                                   Financial Crimes Enforcement Network


   • For all prepaid card programs, including Business Funded Cards, transactional
     activity should be monitored on a regular basis for unusual activity such as
     high dollar loads, high dollar spend, MCC code restrictions and international
     activity, as well as any activity that conflicts with the stated purpose of the card
     program.

   • For bulk purchases of “closed loop” cards, especially in amounts exceeding
     $10,000, the issuing retailers should also collect information about the business
     that is purchasing the cards, the purpose of the purchase, and expected usage,
     and should monitor use to make sure it does not conflict with the stated
     purpose of the card program.

 Conclusion
 Business Funded Cards can be “win-win-win” products that benefit prepaid card
 issuers, providers and sellers, as well as the businesses that fund them, and the
 recipients who use them. Both bank and MSBs that offer such cards should establish
 appropriate risk-based AML compliance programs that take into account the very
 unique and different risks posed by such products.




SAR Activity Review — Trends, Tips & Issues (Issue 22)                              55
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 62 of 66
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 63 of 66
                                                       Financial Crimes Enforcement Network



             Feedback Form
 Financial Crimes Enforcement Network
 U.S. Department of the Treasury
 Tell Us What You Think
 Your feedback is important and will assist us in planning future issues of The SAR
 Activity Review. Please take the time to complete this form. The form can be
 faxed to FinCEN at (202) 354-6411 or accessed and completed online at
 http://www.fincen.gov/feedback/fb.sar.artti.php.
 Questions regarding The SAR Activity Review can be submitted to sar.review@
 fincen.gov. For all other questions, please contact our Regulatory Helpline at (800)
 949-2732. Please do not submit questions regarding suspicious activity reports
 to the SAR Activity Review mailbox.
   A. Please identify your type of financial institution.
      Depository Institution:                           Securities and Futures Industry:
      __ Bank or Bank Holding Company                   __ Securities Broker/Dealer
      __ Savings Association                            __Futures Commission Merchant
      __ Credit Union                                   __Introducing Broker in Commodities
      __ Foreign Bank with U.S. Branches or Agencies    __Mutual Fund
      Money Services Business:                          Casino or Card Club:
      __ Money Transmitter                              __ Casino located in Nevada
      __ Money Order Company or Agent                   __ Casino located outside of Nevada
      __ Traveler’s Check Company or Agent              __ Card Club
      __ Currency Dealer or Exchanger
      __ Prepaid Access
      __ Insurance Company
      __ Dealers in Precious Metals, Precious Stones, or Jewels
      __ Other (please identify): _________

   B. Please indicate your level of satisfaction with each section of this issue of
      The SAR Activity Review- Trends Tips and Issues (circle your response).
                                                           1=Not Useful, 5=Very Useful
      Section 1 - Director’s Forum                         1       2      3      4       5
      Section 2 - Trends and Analysis                      1       2      3      4       5
      Section 3 - Law Enforcement Cases                    1       2      3      4       5
      Section 4 - Issues & Guidance                        1       2      3      4       5
      Section 5 - Industry Forum                           1       2      3      4       5



SAR Activity Review — Trends, Tips & Issues (Issue 22)                                   57
      Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 64 of 66
Financial Crimes Enforcement Network


 C. What information or article in this edition did you find the most helpful or
    interesting? Please explain why (please indicate by topic title):
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________

 D. What information did you find least helpful or interesting? Please explain why
    (again, please indicate by topic title):
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________

 E. What new TOPICS, TRENDS, or PATTERNS in suspicious activity would you like
    to see addressed in the next edition of The SAR Activity Review – Trends, Tips
    & Issues? Please be specific, for example: information on a certain type of
    activity, or an emerging technology of interest.
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________

 F. What other feedback does your financial institution have about The SAR
    Activity Review publication itself?
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________
 ______________________________________________________________________

 G. How often do you read the SAR Activity Review? (Check all that apply)

 [ ] Every Issue
 [ ] Occasionally
 [ ] Only issues with content directly applicable to my industry or area of interest




 58                          SAR Activity Review — Trends, Tips & Issues (Issue 22)
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 65 of 66
Case 1:17-cv-04179-DLC Document 75-2 Filed 12/14/17 Page 66 of 66
